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                            UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF MASSACHUSETTS


In re GE ERISA LITIGATION                )   Master File No. 1:17-cv-12123-DJC
                                         )
                                         )   CLASS ACTION
This Document Relates To:                )
                                         )   CONSOLIDATED AMENDED
      ALL ACTIONS.                       )   COMPLAINT FOR BREACH OF
                                         )   FIDUCIARY DUTY AND PROHIBITED
                                             TRANSACTIONS UNDER THE
                                             EMPLOYEE RETIREMENT INCOME
                                             SECURITY ACT
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       Plaintiffs Maria LaTorre, Robyn Berger, Brian Sullivan, Frank Magliocca, and Melinda

Stubblefield (collectively “Plaintiffs”) bring this action by and through their undersigned

attorneys based upon personal knowledge as to Plaintiffs and Plaintiffs’ own acts and upon

information and belief as to all other matters based on the investigation conducted by and

through Plaintiffs’ attorneys, which included, inter alia, a review of U.S. Department of Labor

(“DOL”) and U.S. Securities and Exchange Commission (“SEC”) filings by General Electric

Company (“GE” or the “Company”), as well as defined contribution plan documents, media

reports about the Company, and an analysis of available fund and investment information.

Plaintiffs believe that substantial additional evidentiary support will exist for the allegations set

forth herein after a reasonable opportunity for discovery.

                                  NATURE OF THE ACTION

       1.     Plaintiffs bring this action individually, on behalf of a class of all participants in

GE’s 401(k) Plan, a/k/a the GE Retirement Savings Plan, and its predecessor the GE Savings and

Security Program (together the “Plan”) between October 30, 2011 to the date of Judgment (the

“Class Period”), and on behalf of the Plan, for breach of fiduciary duty and prohibited

transactions under the Employee Retirement Income Security Act of 1974, as amended,

29 U.S.C. §1001, et seq. (“ERISA”), against the Defendants, as defined below. As alleged

herein, Defendants have breached their fiduciary duties of prudence and loyalty with respect to

the Plan, and entered into prohibited transactions in violation of ERISA, to the detriment of the

Plan and its participants and beneficiaries.

       2.     To safeguard against the financial incentives for disloyalty and imprudence in

defined contribution plans, ERISA imposes strict duties of loyalty and prudence upon plan

fiduciaries. ERISA §404(a) (1), 29 U.S.C. §1104(a) (1). These fiduciary duties are “the highest

known to the law.” Howard v. Shay, 100 F.3d 1484, 1488 (9th Cir. 1996) (citation omitted).
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When selecting investments for a retirement plan, fiduciaries must act “solely in the interest of

the participants and beneficiaries,” which requires them to perform with undivided loyalty, act

prudently, and defray reasonable plan expenses. 29 U.S.C. §1104(a)(1).

       3.     Defendants did not consider or act in the best interest of the Plan and its participants

throughout the Class Period. Instead, Defendants put their interests before Plan participants by

treating the Plan as an opportunity to promote and generate fees for the proprietary mutual fund

business of GE and its affiliates. Defendants caused all of the Plan’s actively managed funds to

be managed and sponsored by GE’s wholly owned subsidiary, GE Asset Management

Incorporated, “GE Asset Management” and its successor entity, SSGA Funds Management, Inc.

(“SSGA”) even though those funds were obviously imprudent and would be imprudent to any

other fiduciary under the circumstances.

       4.     Defendants sought to prop up GE Asset Management’s mutual fund business after

the proprietary mutual funds experienced large outflows by non-GE plan participants.

Defendants accomplished this by loading the Plan with GE proprietary mutual funds, despite the

fact that Plan participants would have been better served by investment options managed by

unaffiliated companies that included options to invest in less expensive and better performing

mutual funds. Defendants’ self-dealing, which allowed them to reap millions of dollars in fee

income from Plan participants, violated their obligations under ERISA.

       5.     During the Class Period, Plan participants were offered the following proprietary

mutual funds: GE Institutional Strategic Investment Fund (“Strategic Investment Fund”), GE

Institutional Small Cap Equity Fund (“Small Cap Equity Fund”), GE Institutional International

Equity Fund (“International Equity Fund”), GE RSP Income Fund (“Income Fund”) and GE RSP




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U.S. Equity Fund (“U.S. Equity Fund”) (collectively the “GE Funds”) that were corrupted by

poor performance, high fees or both.

       6.     The Plan fiduciaries’ decision to load the Plan with poorly performing, expensive,

proprietary mutual fund options enabled GE to earn more than $175 million in fees from 2010

through 2016 in violation of their duties of prudence and loyalty under ERISA and costing Plan

participants tens of millions of dollars in lost retirement income – a harm that has only

compounded over time.

       7.     In addition to enabling GE to earn a huge amount of fees, Defendants’ self-serving

conduct enabled GE to build up its asset management business, and enhance its value on the

backs of Plan participants. In fact, since 2013, at least 65% of the GE Funds Plan assets have

consisted of Plan participant investments. Defendants were, in effect, “seeding” the GE Funds to

generate fees, which bolstered GE Asset Management’s planned sale to State Street Corporation

(“State Street”) (described below). After building the profits of the GE Funds through captive

Plan participant investments, GE sold GE Asset Management to State Street in July 2016 for

$485 million generating approximately $400 million in income for the Company. According to

Department of Labor Advisory Opinion 98-06-A, such self-serving conduct is prohibited, and a

“plan fiduciary would be liable for any loss resulting from such breach of fiduciary

responsibility.”

       8.     To remedy these fiduciary breaches and prohibited transactions, Plaintiffs,

individually and as representatives of a Class of participants and beneficiaries in the Plan, bring

this action on behalf of the Plan to recover all losses resulting from the Plan fiduciaries’ breaches

of fiduciary duty and other ERISA violations and restore to the Plan any profits made by the

fiduciaries or the persons and/or entities who knowingly participated in the fiduciaries’


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imprudent and disloyal use of the Plan’s assets. In addition, Plaintiffs seek such other equitable

or remedial relief as the Court may deem appropriate.

                                 JURISDICTION AND VENUE

       9.      Plaintiffs bring this action pursuant to 29 U.S.C. §1132(a), which provides that

participants or beneficiaries in an employee retirement plan may pursue a civil action on behalf

of the plan to remedy breaches of fiduciary duty and other violations of ERISA for monetary and

appropriate equitable relief.

       10.     This Court has jurisdiction over the subject matter of this action pursuant to

28 U.S.C. §1331, because it is a civil action arising under the laws of the United States, and

exclusive jurisdiction under ERISA §502(e)(1), 29 U.S.C. §1132(e)(1).

       11.     Venue is proper in this District pursuant to ERISA §502(e)(2), 29 U.S.C.

§1132(e)(2), because the Plan is administered in Boston, Massachusetts, many violations of

ERISA took place in this District, and/or multiple defendants may be found in this District.

Venue is also proper in this District pursuant to 28 U.S.C. §1391(b) because multiple defendants

reside and/or do business in this District and because a substantial part of the events or omissions

giving rise to the claims asserted herein occurred within this District.

                                             PARTIES

Plaintiffs

       12.     Plaintiff Maria LaTorre was a participant in the Plan during the Class Period. As a

participant, plaintiff LaTorre invested in various funds offered within the Plan, including the

Strategic Investment Fund, the Small Cap Equity Fund, the International Equity Fund, the

Income Fund and the U.S. Equity Fund, among others. Plaintiff LaTorre has suffered financial

harm and has been injured by Defendants’ unlawful conduct as described herein. Furthermore,



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Defendants have been unjustly enriched from the various fees and expenses generated as a result

of plaintiff LaTorre’s Plan investments.

       13.     Plaintiff Robyn Berger was a participant in the Plan during the Class Period. As a

participant, plaintiff Berger invested in various funds offered within the Plan, including the

Strategic Investment Fund, the Small Cap Equity Fund, the International Equity Fund and the

U.S. Equity Fund, among others. Plaintiff Berger has suffered financial harm and has been

injured by Defendants’ unlawful conduct as described herein. Furthermore, Defendants have

been unjustly enriched from the various fees and expenses generated as a result of plaintiff

Berger’s Plan investments.

       14.     Plaintiff Brian Sullivan was a participant in the Plan during the Class Period. As a

participant, plaintiff Sullivan invested in various funds within the Plan, including the Strategic

Investment Fund, the Small Cap Equity Fund, the International Equity Fund, the Income Fund

and the U.S. Equity Fund, among others. Plaintiff Sullivan has suffered financial harm and has

been injured by Defendants’ unlawful conduct as described herein. Furthermore, Defendants

have been unjustly enriched from the various fees and expenses generated as a result of plaintiff

Sullivan’s Plan investments.

       15.     Plaintiff Frank Magliocca was a participant in the Plan during the Class Period. As

a participant, plaintiff Magliocca invested in various funds within the Plan, including the

Strategic Investment Fund, the International Equity Fund, the Income Fund, and the U.S. Equity

Fund. Plaintiff Magliocca has suffered financial harm and has been injured by Defendants’

unlawful conduct as described herein. Furthermore, Defendants have been unjustly enriched

from the various fees and expenses generated as a result of plaintiff Magliocca’s Plan

investments.


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         16.   Plaintiff Melinda Stubblefield was a participant in the Plan during the Class Period.

As a participant, plaintiff Stubblefield invested in various funds within the Plan, including the

Small Cap Equity Fund, the International Equity Fund, the Income Fund and the U.S. Equity

Fund, among others. Plaintiff Stubblefield has suffered financial harm and has been injured by

Defendants’ unlawful conduct as described herein. Furthermore, Defendants have been unjustly

enriched from the various fees and expenses generated as a result of plaintiff Stubblefield’s Plan

investments.

Defendants

         The Company

         17.   Defendant GE is a New York corporation headquartered in Boston, Massachusetts

that operates a global digital industrial company. Until July 1, 2016, GE operated a for-profit

investment management business through its wholly owned subsidiary, GE Asset Management,

which served as the investment manager for the investment options in the Plan detailed herein.

GE is the sponsor of the Plan within the meaning of ERISA §3(16)(B), 29 U.S.C. §1002(16)(B).

         18.   According to the Plan Document Section XI.A.2., GE is “the Administrator of the

Plan.”    Additionally, the Plan Document Section XI.A.1. provides that the operation and

administration of the Plan is vested in GE except for powers or duties regarding the operation

and administration of the Plan that have been expressly allocated to other named fiduciaries.

         19.   According to the Plan’s Trust Agreement, the Company exercises discretionary

authority by requiring certain GE investment options to be offered by the Plan and by providing

the criteria for Plan investment options. Therefore, the Company is a Plan fiduciary as it has

exercised or possessed: (i) discretionary authority and control over Plan management;

(ii) authority or controls respecting the management or disposition of Plan assets; and/or

(iii) exercised or possessed discretionary authority and control with respect to the appointment or
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termination of other Plan fiduciaries. The Company is also a Plan fiduciary because it has

rendered investment advice with regard to the Plan, for a fee or other compensation, direct or

indirect, with respect to Plan investments.

       GE Asset Management

       20.   Defendant GE Asset Management was a wholly owned subsidiary of GE. From

October 2011 through July 2016, GE Asset Management managed and sponsored the GE Funds.

Its assets and investment professionals were acquired by State Street in July 2016 for

$485 million.

       21.   Defendant GE Asset Management has been the investment manager of the Plan, as

appointed by the Plan administrator, GE, and received compensation in connection with mutual

fund investments in the Plan at all relevant times herein. Until its sale to State Street, GE Asset

Management was a party in interest to the Plan, as defined in ERISA §3(14), 29 U.S.C.

§1002(14), because it was an employer of employees covered by the Plan and served as an

investment manager to the Plan.

       The Investment Committee Defendants

       22.   Defendant Benefit Plans Investment Committee (the “Committee” or “BPIC”)1 is a

named fiduciary of the Plan and is charged with primary fiduciary responsibility for investment

oversight of the Plan. According to the Declaration of Scott Alan Silberstein, Executive Counsel

for the Company (the “Silberstein Declaration”), BPIC’s functions and responsibilities include:

       •        Reviewing periodic reports on the performance of investment options;




1
    Based on the representation of defense counsel, the “Committee,” as it is referred to and
defined in the Plan Document is the “Benefit Plan Investment Committee” as it is described in
the Silberstein Declaration.

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       •       Evaluating investment performance of Plan investment options;

       •       Considering the addition of any new investment options or the removal of any
               investment options from the Plan; and

       •       Appointing members of the GEAM Committee, described below.

       23.   Additionally, according to Section XIII.B.1. of the Plan Document, BPIC appoints

individuals to act as “Fund Trustees” to manage and control the assets of the Income Fund and

U.S. Equity Fund.

       24.   The “Investment Committee Defendants” consist of the BPIC and its individual

members.2 At all relevant times herein, the members of the BPIC (as well as the BPIC itself)

were fiduciaries within the meaning of ERISA §3(21)(A), 29 U.S.C. §1002(21)(A) as a result of

their membership on the BPIC and because they each exercised or possessed discretionary

authority or discretionary control respecting management of the Plan and/or exercised or

possessed authority or control respecting management or distribution of the Plan’s assets, and/or

had discretionary authority or discretionary responsibility in the administration of the Plan.

       Asset Management Defendants

       25.   Defendant, the “GEAM Committee,” has served as Trustee of the Plan pursuant to

the Trust Agreement and was a named fiduciary of the Plan at all relevant times herein.

According to the Silberstein Declaration, the GEAM Committee’s fiduciary responsibilities

include reviewing Plan investment options and making recommendations to the BPIC about the

removal, suspension, or lack thereof of Plan investment options.




2
  Plaintiffs’ counsel has requested that Defendants provide the identities of the individual
members of the BPIC and their tenures, but Defendants have refused to do so.

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       26.    Defendant Scott Silberstein (“Silberstein”) has served as Executive Counsel,

Investment Oversight, for “GE Benefit Plans” and during the Class Period was a GEAM

Committee Member and Plan Trustee.

       27.    The “Asset Management Defendants” consist of the GEAM Committee and its

members. Pursuant to the Trust Agreement, the GEAM Committee and its members are the Plan

Trustees.

       28.    According to Annual Shareholder Reports of the GE Funds filed with the SEC

during the Class Period, the following Defendants were Plan Trustees:

                (a)   Defendant Dmitri Stockton, former GE Asset Management President and

Chief Executive Officer;

                (b)   Defendant George A. Bicher, GE Asset Management Chief Investment

Officer, “Emerging Markets Equities”;

                (c)   Defendant Paul Colonna, GE Asset Management President and Chief

Investment Officer, “Public Investments”;

                (d)   Defendant Michael J. Cosgrove, GE Asset Management President of

“Mutual Funds and Global Investment Programs”;

                (e)   Defendant Greg Hartch, GE Asset Management Chief Risk Officer;

                (f)   Defendant Jessica Holscott, GE Asset Management Executive Vice

President;

                (g)   Defendant Jeanne M. LaPorta, GE Asset Management Senior Vice

President;

                (h)   Defendant Ralph Richard Layman, GE Asset Management Executive Vice

President;


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                (i)    Defendant Silberstein;

                (j)    Defendant Matthew J. Simpson, GE Asset Management Executive Vice

President;

                (k)    Defendant Don W. Torey, GE Asset Management President and Chief

Financial Officer, “Alternative Investments”;

                (l)    Defendant David Wiederecht, GE Asset Management President and Chief

Investment Officer, “Investment Solutions”; and

                (m)    Defendant Matthew Zakrzewski; Executive Vice President and Chief

Financial Officer of GE Asset Management.

       29.     At all relevant times herein, the Asset Management Defendants were fiduciaries

within the meaning of ERISA §3(21)(A), 29 U.S.C. §1002(21)(A) because they each exercised

or possessed discretionary authority or discretionary control respecting management of the Plan

and/or exercised or possessed authority or control respecting management or distribution of the

Plan assets, and/or had discretionary authority or discretionary responsibility in the

administration of the Plan.

       Fund Trustee Defendants

       30.     The “Fund Trustee Defendants” are GEAM executive officers that, according to

Section XIII.B.1. and Section XX of the Plan Document, are named fiduciaries appointed by the

BPIC that had exclusive authority to manage and control the assets of the Income Fund and U.S.

Equity Fund.

       31.     According to the Annual Shareholder Reports of the Income Fund and U.S. Equity

Fund filed with the SEC during the Class Period, the following Defendants were Fund Trustees:

                (a)    Defendant Dmitri Stockton, former GE Asset Management President and

Chief Executive Officer;
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              (b)     Defendant George A. Bicher, GE Asset Management Chief Investment

Officer, “Emerging Markets Equities”;

              (c)     Defendant JoonWon Choe, GE Asset Management Senior Vice President;

              (d)     Defendant Paul Colonna, GE Asset Management Chief Investment

Officer, “Public Investments”;

              (e)     Defendant Greg Hartch, GE Asset Management Chief Risk Officer;

              (f)     Defendant Jessica Holscott, GE Asset Management Executive Vice

President;

              (g)     Defendant Arthur A. Jensen, GE Asset Management Treasurer;

              (h)     Defendant Jeanne M. LaPorta, GE Asset Management Senior Vice

President;

              (i)     Defendant Ralph Richard Layman, GE Asset Management Executive Vice

President;

              (j)     Defendant Matthew J. Simpson, GE Asset Management Executive Vice

President;

              (k)     Defendant Don W. Torey, GE Asset Management President and Chief

Financial Officer, “Alternative Investments”;

              (l)     Defendant David Wiederecht, GE Asset Management President and Chief

Investment Officer, “Investment Solutions”; and

              (m)     Defendant Matthew Zakrzewski; Executive Vice President and Chief

Financial Officer of GE Asset Management.




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       32.   At all relevant times herein, the Defendant Fund Trustees were fiduciaries within

the meaning of ERISA §3(21)(A), 29 U.S.C. §1002(21)(A) because they each exercised or

possessed authority or control respecting management or distribution of the Plan assets.

       Pension Board Defendants

       33.   Defendant GE Pension Board (the “Pension Board” or “GEPB”) is a named

fiduciary of the Plan. According to Section XXI of the Plan Document, the Pension Board

means the Pension Board as defined in the GE Pension Plan (i.e., the GE defined benefit plan).

According to excerpts of Section XX of the GE Pension Plan provided by Defendants, the

control and management of the operation and administration of the Plan shall be vested in a

Pension Board unless the Plan or Trust provides otherwise.

       34.   The “Pension Board Defendants” consist of the GEPB and its individual members.

According to the excerpts of Section XX of the GE Pension Plan provided by Defendants, the

Pension Board consists of a chairperson and four or more other members appointed annually by

the Board of Directors of GE to hold office at the pleasure of the Board of Directors.3

       35.   According to the Section VI.F.6. of the Plan Document, the GEPB has the

following express powers, duties, obligations, and fiduciary responsibilities with respect to the

management and control of the operation and administration of the Plan: “establish such written

procedures as are necessary to effectuate administration of the Plan.”

       36.   At all relevant times herein, the Pension Board and the Pension Board Defendants

were fiduciaries within the meaning of ERISA §3(21)(A), 29 U.S.C. §1002(21)(A), as a result of

their membership on the Pension Board and because they each exercised or possessed

discretionary authority or discretionary control respecting management of the Plan, and/or had

3
  Plaintiffs’ counsel has requested that Defendants provide the identities of the individual
members of the GEPB and their tenures, but Defendants have refused to do so.

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discretionary authority or discretionary responsibility in the administration of the Plan with

respect to establishing and enforcing rules and procedures of the Plan.

        Board Defendants

        37.   The “Board Defendants” consist of the GE Board of Directors (the “Board”) and its

individual members named below. According to excerpts of Section XVII of the GE Pension

Plan provided by Defendants, the Board is charged with establishing the Committee and

appointing Committee members who serve at its pleasure. Additionally, according to excerpts of

Section XX of the GE Pension Plan provided by Defendants, the Board was responsible for

annually appointing GEPB members, consisting of a chairperson and four or more other

members that hold office at the pleasure of the Board.

        38.   As a result of the powers granted by the Plan Document, the Board Defendants

were fiduciaries of the Plan, within the meaning of ERISA Section 3(21)(A), 29 U.S.C.

§1002(21)(A), because each exercised or possessed discretionary authority to appoint, monitor

and remove Plan fiduciaries who had control over Plan management and/or authority or control

over management or disposition of Plan assets.

               (a)     Defendant John L. Flannery is the current Chairman of the Board and has

served as a member of the Board since August 1, 2017;

               (b)     Defendant Jeffrey Immelt was Chairman of the Board from 2001 to

August 2017;

               (c)     Defendant Sebastien M. Bazin has served as a member of the Board since

2016;

               (d)     Defendant W. Geoffrey Beattie has served as a member of the Board since

2009;


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                (e)   Defendant John J. Brennan has served as a member of the Board since

2012;

                (f)   Defendant Francisco D’Souza has served as a member of the Board since

2013;

                (g)   Defendant Marjin E. Dekkers has served as a member of the Board since

2012;

                (h)   Defendant Edward Garden has served as a member of the Board since

October 2017;

                (i)   Defendant Peter B. Henry has served as a member of the Board since

2016;

                (j)   Defendant Dr. Susan J. Hockfield has served as a member of the Board

since 2006;

                (k)   Defendant Andrea Jung has served as a member of the Board since 1998;

                (l)   Defendant Robert W. Lane has served as a member of the Board from

2005 to October 2017;

                (m)   Defendant Risa Lavisso-Mourey has served as a member of the Board

since March 2017;

                (n)   Defendant Rochelle B. Lazarus has served as a member of the Board since

2000;

                (o)   Defendant Lowell C. McAdam has served as a member of the Board from

2016 to December 2017;

                (p)   Defendant Steven M. Mollenkopf has served as a member of the Board

since 2016;


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                (q)    Defendant James J. Mulva has served as a member of the Board since

2008;

                (r)    Defendant James E. Rohr has served as a member of the Board since

2013;

                (s)    Defendant Mary L Schapiro has served as a member of the Board since

2013; and

                (t)    Defendant James S. Tisch has served as a member of the Board since

2010.

        The Plan

        39.   Nominal Defendant, the GE Retirement Savings Plan formerly known as the

GE Savings and Security Program, (i.e., the Plan), is and at all relevant times has been an

“employee pension benefit plan” within the meaning of ERISA §3(2)(A), 29 U.S.C.

§1002(2)(A), and a “defined contribution plan” or “individual account plan” within the meaning

of ERISA §3(34), 29 U.S.C. §1002(34). The Plan is named as a nominal defendant pursuant to

Fed. R. Civ. P. 19 to ensure that complete relief can be granted as to claims brought on behalf of

the Plan.

        “Doe” Defendants

        40.   To the extent that the identities of members of the BPIC and/or GEPB become

known and/or there are additional officers and employees of GE or GE Asset Management, or

other entities or persons who were fiduciaries of the Plan during the Class Period, the identities

of whom are currently unknown to Plaintiffs, Plaintiffs reserve the right, once their identities are

ascertained, to seek leave to join them to the instant action. Thus, without limitation, unknown

“Doe” defendants include other individuals and entities who were fiduciaries of the Plan within



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the meaning of ERISA §§3(21) and/or 402(a)(1) during the Class Period and are personally

liable under ERISA §409(a).

                     DEFENDANTS’ FIDUCIARY DUTIES UNDER ERISA

Duty of Loyalty

       41.   ERISA imposes strict fiduciary duties of loyalty and prudence upon Defendants as

fiduciaries of the Plan. According to the DOL, the “primary responsibility of fiduciaries is to run

the plan solely in the interest of participants and beneficiaries and for the exclusive purpose of

providing benefits and paying plan expenses” (emphasis added). In addition, ERISA fiduciaries

“must avoid conflicts of interest” and “may not engage in transactions on behalf of the plan that

benefit parties related to the plan, such as other fiduciaries, services providers or the plan

sponsor.” Thus, the duty of loyalty prohibits fiduciaries from acting in service of their own

interests or those of a third party to the detriment of plan participants, including by charging or

allowing to be charged excessive fees in plan investment options.

       42.   ERISA §404(a)(1) states, in relevant part, that:

       [A] fiduciary shall discharge his duties with respect to a plan solely in the interest
       of the participants and beneficiaries and –

               (A)     for the exclusive purpose of:

                       (i) providing benefits to participants and their beneficiaries; and

                       (ii) defraying reasonable expenses of administering the plan.

29 U.S.C. §1104(a)(1).

       43.   The duty of loyalty requires fiduciaries to act with an “‘eye single’” to the interests

of plan participants. Pegram v. Herdrich, 530 U.S. 211, 235 (2000). “‘Perhaps the most

fundamental duty of a [fiduciary] is that he [or she] must display . . . complete loyalty to the




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interests of the beneficiary and must exclude all selfish interest and all consideration of the

interests of third persons.’” Id. at 224.

       44.   Where fiduciaries have conflicting interests that raise questions regarding their

loyalty, the fiduciaries “are obliged at a minimum to engage in an intensive and scrupulous

independent investigation of their options to insure that they act in the best interests of the plan

beneficiaries.” Kanawi v. Bechtel, No. 09-16253 (9th Cir. 2009) (DOL Amicus Brief).

Duty of Prudence

       45.   ERISA “‘imposes a “prudent person” standard by which to measure fiduciaries’

investment decisions and disposition of assets.’” Fifth Third Bancorp v. Dudenhoeffer, __

U.S. __, 134 S. Ct. 2459, 2467 (2014) (citation omitted). This means that ERISA fiduciaries

must discharge their responsibilities “with the care, skill, prudence, and diligence” that a prudent

person “acting in a like capacity and familiar with such matters would use.”             29 U.S.C.

§1104(a)(1)(B).     As the Uniform Prudent Investor Act (“UPIA”) observes: “Wasting

beneficiaries’ money is imprudent. In devising and implementing strategies for the investment

and management of trust assets, trustees are obliged to minimize costs.” UPIA §7 cmt.

       46.   In addition to a duty to select prudent investments, under ERISA a fiduciary “has a

continuing duty to monitor [plan] investments and remove imprudent ones,” which exists

“separate and apart from the [fiduciary’s] duty to exercise prudence in selecting investments.”

Tibble v. Edison Int’l, __ U.S. __, 135 S. Ct. 1823, 1828 (2015). If an investment is imprudent,

the plan fiduciary “‘must dispose of it within a reasonable time.’”         Id. (citation omitted).

Fiduciaries therefore may be held liable for either assembling an imprudent menu of investment

options or for failing to monitor a plan’s investment options to ensure that each option remains

prudent.


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       47.   The general duties of loyalty and prudence imposed by ERISA §404 are

supplemented by certain transactions that are expressly prohibited by ERISA §406, and are

considered “per se” violations because they entail a high potential for abuse.

                               SUBSTANTIVE ALLEGATIONS

The Plan

       48.   The written instrument, within the meaning of ERISA §402, 29 U.S.C. §1102, by

which the Plan is maintained is the GE Retirement Savings Plan (the “Plan Document”), as

amended as of July 1, 2015.4

       49.   Effective January 1, 2014, the Plan was amended to change its name from the GE

Savings and Security Program to the GE Retirement Savings Plan. The Plan provides retirement

income for GE’s current and former employees and those of participating affiliates of GE. The

retirement income available for Plan participants depends on the amount invested by Plan

participants, the amount the Company contributes on behalf of its employees, and the

performance of selected investment options less the investments’ fees and expenses.

       50.   Throughout the Class Period, the Plan was one of the largest employee defined-

contribution retirement plans in the United States, with nearly a quarter of a million Plan

participants. Between 2011 and 2016, total assets for the Plan ranged from about $19.5 billion to

over $29 billion.




4
    In response to Plaintiff LaTorre’s November 14, 2017 ERISA §104(b)(4) request, the Plan
Administrator provided Plaintiffs with certain documents and information regarding the Plan
including the Plan Document. The Plan Administrator did not provide Plaintiffs with a copy of
the prior Plan Document, but, Plaintiffs are not aware of any material changes to the Plan
Document prior to July 1, 2015 based upon the documents and information provided.

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       The Investment Options in the Plan

       51.   Eligible employees of the Company and participating affiliates may participate in

the Plan by investing up to 30% of their eligible earnings in one of several investment options,

including the GE Funds.

       52.   Each of these funds was the exclusive investment option in its respective category

of actively managed investments. For example, if a Plan participant wanted to invest in an

actively managed large cap strategy, the U.S. Equity Fund was the only available option. In

addition to the GE Funds, the Plan’s investment options consisted of the GE Stock Fund, six

collective trust index funds, a Target Date Fund and a Money Market Fund. According to the

Target Date Funds Profile, the Target Date Funds exclusively invested in the collective trusts and

the Money Market Fund already offered by the Plan. Thus, the Plan fiduciaries effectively

limited participants’ investment choices to only GE Stock, the Money Market Fund, six

collective trust index funds and the GE Funds. If a Plan participant did not want to invest in GE

Stock, the Money Market Fund, or an index fund directly or indirectly, the only other Plan

investment option were the GE Funds.

       53.   Rather than fulfilling their fiduciary duties by engaging in a disinterested process

designed to serve the best interests of Plan participants, the Plan fiduciaries structured the Plan to

maximize their own profits so that if a participant wanted to invest in actively managed mutual

funds they were forced to select the GE Funds which were all proprietary funds with subpar

performance and/or had excessively high fees (often with significantly greater risk than other

comparable funds in their investment category) that benefitted GE and GE Asset Management to

the detriment of Plan participants. The Plan fiduciaries could have, but failed to, include funds

with comparable or better performance from unaffiliated fund managers. Furthermore, the Plan


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fiduciaries also breached their fiduciary duties by failing to remove imprudent investment

options from the Plan.

       54.   Plan participants invested billions of dollars through the Plan into the GE Funds.

Indeed, roughly a third of Plan assets constituted investments in the GE Funds throughout the

Class Period, as detailed in the following chart (as of December 31st of each calendar year):

                         Plan           Overall Plan        Plan Assets in GE
                         Year             Assets            Funds (% Total)
                         2016            $29.593B             $8.23B (28%)
                         2015            $28.717B             $8.202B (29%)
                         2014            $27.099B             $8.847B (33%)
                         2013            $27.464B             $8.711B (32%)
                         2012            $22.309B             $7.475B (34%)
                         2011            $19.598B             $6.677B (34%)

       55.   As of December 31, 2015, the Plan had approximately $28.7 billion in overall

assets, $8.2 billion of which was invested in the GE Funds and $11 billion of which was invested

in GE common stock.        As a result, over 66% of the Plan was invested in GE-affiliated

investment options.

Fees Substantially Impact Return on Investment

       56.   In defined-contribution plans, such as the Plan, fees paid by a plan participant

reduce the amount available for investment and negatively impact the total return on the

participants’ investments. Because retirement savings in defined-contribution plans grow and

compound over the course of an employee-participant’s career excessive fees can dramatically

reduce the amount of funds available for a participant by the time of retirement. Over time, due

to the power of compounding, even apparently minor differences in investment performance and

fees can result in drastic differences in the funds available at retirement for ERISA beneficiaries.

       57.   The following example from the DOL illustrates how even apparently minor

differences can greatly impact a participant’s retirement account over time:

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                Assume that you are an employee with 35 years until retirement and a
       current 401(k) account balance of $25,000. If returns on investments in your
       account over the next 35 years average 7 percent and fees and expenses reduce
       your average returns by 0.5 percent, your account balance will grow to $227,000
       at retirement, even if there are no further contributions to your account. If fees
       and expenses are 1.5 percent, however, your account balance will grow to only
       $163,000. The 1 percent difference in fees and expenses would reduce your
       account balance at retirement by 28 percent.

       58.   As another example, the SEC’s Office of Investor Education and Advocacy,

emphasized in the graph reproduced below that even though investment fees may seem small

they can have a major impact on investment returns over time.




Large Retirement Plans Are Able to Lower the Cost of Investment Options

       59.   The size of a retirement plan and the way investment vehicles are structured can

impact the amount of fees charged to plan participants. Generally, participants in 401(k) plans

should be able to gain access to lower fees than comparable products outside of 401(k) plans. By


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pooling their money in a 401(k) plan, individual participants are able to increase the amount of

money invested in a particular fund, diversify their investments, benefit from economies of scale,

and lower their transaction costs. According to a 2015 study by the Investment Company

Institute, 401(k) mutual fund investors pay approximately 23% lower fees than non-401(k)

equity mutual funds (the “2015 ICI Report”). This reduction in fees is inversely correlated with

the size of the plan: the larger the plan, the lower the total fees. For example, according to the

2015 ICI Report, plans with more than $1 billion in assets charged on average 75% lower fees

than the average fees charged by plans with $1 million to $10 million in assets.

       60.   Plans with a large amount of assets can take advantage of lower cost investment

vehicles. A common strategy to reduce fees is to structure investment options as collective trusts

or pooled separate accounts. Collective trusts, which are not available to retail investors and are

regulated by the Office of the Comptroller of the Currency rather than the SEC, have simpler

disclosure statements, smaller prospectuses and lower advertising and marketing costs.

Similarly, separate accounts, which are available to retirement plans, have lower regulatory

oversight and reporting and disclosure requirements. As a result, these investment structures can

charge significantly lower fees than comparable mutual fund investment strategies. For example,

according to a January 2016 report by SSGA, the expense ratios of collective trusts were up to

30% lower than comparable mutual funds.

       61.   For the fiscal year ended December 31, 2016, the Plan had more than $29 billion in

assets, making it one of the largest – and thus one of the most powerful in terms of bargaining

position – defined-contribution plans in the United States. As a result of its immense size, the

Plan could have used its significant bargaining power, economies of scale and leverage to

achieve fees far less than those available to individual investors or even other ERISA plans with


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comparable investment strategies. Even though the Plan offered a handful of non-proprietary,

passively managed investment options structured as separate accounts or collective trusts, the

actively managed proprietary GE Funds were structured as more expensive mutual fund options

enabling Defendant GE Asset Management and its parent, Defendant GE, a fiduciary of the Plan,

to earn millions of dollars in fees from Plan participants.

Large Retirement Plans Can Offer Investment Options with Significantly Lower Risk

          62.   In addition to performance and fees, another important characteristic of evaluating a

mutual fund investment option for inclusion in a retirement plan is the inherent risk of that fund’s

investment portfolio. Although returns and risk should move in tandem – that is, the greater the

risk the greater the return on investment, and the lower the risk the lower the return on

investment – there are various common financial metrics that can be used to demonstrate that a

fund is achieving poorer returns than its benchmarks, while at the same time assuming greater

risk than its corresponding benchmarks. The latter was the case with several of the GE Funds,

effectively hitting Plan participants with a triple whammy: worse performance, greater fees, and

greater risk than comparable alternatives.

          63.   The three financial metrics commonly used by investors to compare the risk of a

fund with its category benchmark are the Treynor Ratio, the Sharpe Ratio, and the Sortino

Ratio.5     The greater the Treynor, Sharpe and Sortino ratios of a fund compared to the


5
     The Treynor Ratio is calculated as follows: (Average Return of a Portfolio - Average Return
of the Risk-Free Rate) ÷ Beta of the Portfolio. The Sharpe Ratio is calculated as follows:
(Average Return of a Portfolio - Average Return of the Risk-Free Rate) ÷ Annualized Standard
Deviation of the Portfolio. The primary difference between the Treynor Ratio and the Sharpe
Ratio is that the former utilizes beta or market risk to measure volatility, whereas the latter
utilizes total risk or standard deviation. The Sortino Ratio is calculated as follows: (Excess
Return - Risk-Free Rate) ÷ Downside Semi-Variance. The Sortino Ratio is a variation of the
Sharpe Ratio and differentiates harmful volatility from volatility in general by using a value for
downside deviation.

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corresponding ratios of the benchmarks, the greater the risk-adjusted performance. The converse

is also true.     Thus, if Fund “A” and the benchmark portfolio each have 10% returns, but

Fund A’s Treynor, Sharpe and Sortino ratios are less than the benchmark portfolio’s ratios, a

risk-adjusted performance of the benchmark portfolio is better than Fund A’s risk-adjusted

performance.

The Plan Fiduciaries Included and Kept Proprietary Funds in the Plan to Serve Their Own
Self Interest or the Self-Interest of Their Employer

       64.      Throughout the Class Period, the Plan fiduciaries loaded the Plan with expensive

and/or poorly performing proprietary mutual fund options. Plan participants were given access

to only five actively managed mutual fund investment options, each one of which was managed

by GE Asset Management, with fees as high as 89 basis points (“bps”).6 As GE and other GE

Plan fiduciaries knew, GE Asset Management received tens of millions of dollars in fees each

year for its management of the GE Funds.           For the Small Cap Equity Fund, GE Asset

Management hired a number of sub advisers to manage that fund’s investments, but continued to

collect fees as a manager of managers for this fund and passed on the expenses of management

of the fund to Plan participants.

       65.      Between 2011 and 2016, GE through its wholly owned subsidiary, GE Asset

Management, earned more than $175 million in fees from Plan participants as reflected in the

chart below:




6
   One basis point is equal to 0.01%, or 1/100th of a percent. Thus, a fee level of 100 basis
points translates into fees of 1% of the amount invested.

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           Estimated Total Expenses Paid by GE Plan Participants (in thousands)7

GE FUND            2016       2015      2014       2013       2012       2011       2010       Total

U.S. Income     $3,891     $3,429     $2,135     $3,925     $4,009     $3,133     $3,263     $23,785
Fund
(GESLX)
U.S. Equity     $5,579     $5,882     $5,175     $3,771     $4,434     $4,131     $4,177     $33,150
Fund
(GESSX)
International   $6,187     $6,532     $7,142     $6,941     $5,760     $5,907     $6,724     $45,193
Equity Fund
(SIEIX)
Small-Cap       $10,683    $10,389    $11,022    $9,590     $7,605     $7,109     $6,146     $62,544
Equity Fund
(SIVIX)
Strategic       $2,126     $2,191     $2,144     $1,889     $1,613     $1,545     $1,398     $12,907
Investment
Fund
(SIIVX)
Totals          $28,466    $28,425    $27,194    $26,115    $23,421    $21,826    $21,708    $177,579

        66.     As demonstrated in the chart above, GE steadily increased its GE Fund annual fees

from $21 million to $28 million between 2010 and 2016.

        67.     Rather than fulfilling their fiduciary duties by engaging in a disinterested and loyal

process designed to serve the best interests of Plan participants, the Plan fiduciaries structured

the Plan so that it contained underperforming and/or expensive proprietary funds to the benefit of

Defendants and their affiliates and to the detriment of Plan participants. The Plan fiduciaries

could have, but failed to, include lower cost funds with comparable or better performance from

unaffiliated fund managers. Furthermore, the Plan fiduciaries breached their fiduciary duties by

failing to remove imprudent investment options from the Plan.             The failure to select any

non-proprietary, actively managed mutual funds as investment options in the Plan, despite the

availability of hundreds of superior alternatives, demonstrates that the Plan fiduciaries did not



7
     To determine the total expenses paid by shareholders to GE, the average net assets for each
year were multiplied by the corresponding net expense ratio for each year. The net expense ratio
is the percentage of fund assets paid for operating expenses and management fees.

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seriously consider non-proprietary mutual funds in their investment selection process, but rather

only self-serving GE-affiliated funds.

          68.     The Plan fiduciaries selection of these investment options in the Plan was vital to

GE’s mutual fund business and the growth of its bottom line. At all relevant times, assets from

Plan participants constituted a substantial majority of the GE Funds’ assets, ranging from

approximately 40% of all fund assets to approximately 96% of all fund assets depending on the

fund and the year, as detailed in the following chart:

                    Percentage of Each GE Fund’s Assets from Plan Participants8

         GE Fund             2016        2015         2014         2013         2012         2011

    Strategic Investment     76%         78%          73%          67%           64%         65%
    Fund
    Small Cap Equity         92%         93%          93%          96%           93%         90%
    Fund
    Institutional Equity     86%         86%          77%          69%           58%         40%
    Fund
    U.S. Equity Fund         71%         71%          71%          70%           69%         69%
    Income Fund              67%         72%          71%          67%           65%         69%

          69.     In addition to earning lucrative fees from Plan participants, Defendants used Plan

participants as a captive investor base to prop up underperforming or failing mutual funds in the

lead up to the sale of GE Asset Management. For example, between December 31, 2011 and

December 31, 2016, the International Equity Fund suffered from massive investor redemptions

that decreased the amount of assets in the fund (together with poor performance) from

approximately $2.36 billion to approximately $1.19 billion, a decrease of nearly 50%. At the

same time, the amount of assets invested in the International Equity Fund by Plan participants

actually increased, from approximately $947 million to over $1 billion.            As a result, the




8
     As of December 31st of the calendar year.

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proportion of the International Equity Fund that consisted of Plan participant assets more than

doubled from approximately 40% to approximately 86%.

       70.   Similarly indicative of the reliance by GE Asset Management on assets from Plan

participants to prop up its underperforming mutual funds, after GE Asset Management was

acquired by State Street it was announced that the Strategic Investment Fund would be wound

down and shuttered to new investments. Additionally, to ensure maximum retention of the

GE Fund assets, the terms of the Plan provided that investment earnings are “automatically”

reinvested in the same investment option, except for GE stock dividends.

Each of the GE Funds Was an Imprudent and Disloyal Investment

       71.   Self-interest tainted the selection of investment options for the Plan. The Plan

fiduciaries selected GE’s proprietary funds not through an objective process based on their

merits as investments or because doing so was in the interest of Plan participants, but because

these products provided significant revenues and profits to GE and GE Asset Management. The

GE Funds consistently suffered from high fees, poor performance, or both, and posed

significantly greater risk than comparable, readily apparent investment options. In fact, as

demonstrated below, comparable investment options had significantly less risk and/or better risk-

adjusted returns. A prudent, loyal fiduciary under these circumstances would not have selected

or retained such poor-performing investments.

       72.   For the actively managed investment strategies, the Plan fiduciaries offered

participants the single option of a GE proprietary mutual fund geared to that strategy, even

though comparable but better performing investment options were readily available. Despite

their ongoing underperformance during the Class Period, the Plan fiduciaries retained the GE

Funds as investment options in the Plan even though any prudent fiduciary monitoring the Plan

would have removed them as early as 2011.
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       73.   The Plan fiduciaries retained the GE Funds, knowing their performance and

expenses were worse than more prudent options, benchmarks and market averages and/or failed

to have a prudent process in place to ensure the affiliated investments were removed from the

Plan. Notably, during the Class Period, Defendants failed to meet their fiduciary obligations

since a cursory review of the GE Funds would have revealed their imprudence. Knowing of

their significant self-interest in the GE Funds, the Company, and the Plan fiduciaries, failed to

appoint an independent fiduciary to evaluate and monitor the Plan’s investment options.

       74.   Defendants GE and GE Asset Management stood to, and did, benefit from the fees

charged to Plan participants for managing the GE Funds. Had the Plan fiduciaries offered any of

the readily apparent, better-performing, non-proprietary alternatives, GE and GE Asset

Management would have lost out on more than $175 million in fees collected from Plan

participants from 2010 through 2016, and GE would not have earned approximately $400 million

from the $485 million sale of GE Asset Management to State Street. The sale of GE Asset

Management to State Street would not have occurred without the assets of Plan participants and

even if GE could have entered a deal, it would have been for a considerably lower amount.

Accordingly, the process used by GE to select and maintain its investment options was tainted by

failure of effort, competence and/or disloyalty.

International Equity Fund

       75.   The International Equity Fund (“SIEIX”) is a Plan investment option managed by

GE Asset Management. The fund seeks long-term growth of capital by investing at least 80% of

its net assets in equity securities, such as common and preferred stocks. The International Equity

Fund invests primarily in companies in both developed and emerging market countries outside

the United States. If Plan participants wanted to invest in an actively managed strategy focused

on international equities, the International Equity Fund was their only Plan option.
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       76.   In the years leading up to the Class Period, the International Equity Fund

consistently performed worse than comparable mutual funds in the same investment category. In

2008, the fund lost 44.35%, placing it in the bottom 55% of other mutual funds in the same

Foreign Large Blend investment category, according to Morningstar.             In 2009, the fund

performed in the bottom 70% of mutual funds in the Foreign Large Blend category, and in 2010,

the fund performed in the bottom 90% of this category according to Morningstar, which

indicated that the fund’s performance relative to its competitors was actually deteriorating.

       77.   As of December 19, 2017, the International Equity Fund underperformed its

benchmark, the “MSCI EAFE” for the one year, five year and ten year periods. Additionally, the

International Equity Fund failed to outperform its benchmark, the MSCI EAFE Index, in 2011,

2013, 2014 and 2016.

       78.   The International Equity Fund’s Annual Report indicates that in 2016 there were

879 comparable “peer group” funds as defined by Morningstar. In 2016, the average annual

return for these Funds was 6.71%, while the average annual return for the International Equity

Fund was only 5.32% - 139 bps lower.

       79.   If the Plan fiduciaries had faithfully executed their fiduciary duties to the Plan and

its participants they would have selected one of the hundreds of better performing funds

available with comparable strategies.      For example, as of December 19, 2017, the MFS

International Value Fund (“MINJX”) achieved a five-year trailing return of 12.79%, or

approximately 6.78% above the return achieved by the International Equity Fund during this

timeframe.   Similarly, as of December 19, 2017 the Oakmark International Investor fund

(“OANIX”) achieved a five-year trailing return of 10.37%, or approximately 4.36% above the

return achieved by the International Equity Fund during this timeframe.


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        80.    Even certain funds that charged lower fees than the International Equity Fund

achieved superior rates of return. This is significant because, as one of the largest retirement

plans in the United States, the Plan should have been able to provide Plan participants with

investment options that achieved superior returns at a fraction of the cost to retail investors or

even other, smaller retirement plans. GE Asset Management charged investor class shares in the

International Equity Fund fees and expenses ranging from 0.55% to 0.57%. By contrast, the

DFA International Core Equity Portfolio I fund (“DFIEX”) charged investors fees and expenses

of 0.38% to 0.39%. Yet, as of December 19, 2017, this fund achieved a superior five-year

trailing return of 9.10%, or approximately 3.09% above the return achieved by the International

Equity Fund during this timeframe.

        81.    The following table summarizes the poor performance and cumulative harm to

investors in the International Equity Fund as compared to other available investment alternatives

that were not included in the Plan:

                                                    GE ERISA
                   International Equity Fund (SIEIX) As Compared to Peer Group Investments

                                                                                             Compounded
                                                                                  Cumulative   Annual
Fund                              2011   2012   2013   2014   2015      2016       Returns   Growth Rate
SIEIX                           -15.89% 20.79% 21.65% -7.68% -0.46%    -0.97%      12.47%       1.98%
MFS International Value Fund
(MINJX)                         -1.81% 16.13% 27.80% 1.61% 6.85%       4.31%       65.04%      8.71%
   +/-SIEIX                     14.08% -4.66% 6.15% 9.29% 7.31%        5.28%       52.56%      6.73%
OakMark International Equity
(OANIX)                         -14.07% 29.22% 29.34% -5.41% -3.83%    7.96%       41.04%      5.90%
   +/-SIEIX                      1.82% 8.43% 7.69% 2.27% -3.37%        8.93%       28.57%      3.92%
Schwab International Core
Equity Fund (SICNX)             -12.10% 23.73% 23.95% -4.49% 3.40%     1.84%       35.58%      5.20%
   +/-SIEIX                      3.79% 2.94% 2.30% 3.19% 3.86%         2.81%       23.11%      3.23%
AQR International Equity Fund
Class I (AQIIX)                 -15.00% 22.87% 23.97% -7.55% 1.95%     3.12%       25.84%      3.90%
   +/-SIEIX                      0.89% 2.08% 2.32% 0.13% 2.41%         4.09%       13.37%      1.93%
DFA International Core Equity
(DFIEX)                         -15.11% 18.74% 23.43% -5.98% -0.21%    5.34%       22.96%      3.51%
   +/-SIEIX                      0.78% -2.05% 1.78% 1.70% 0.25%        6.31%       10.49%      1.53%




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       82.   As the chart above shows, the International Equity Fund’s cumulative return from

2011 through 2016 was only 12.47%, compared to available alternative investments such as

MINJX, OANIX, SICNX, AQIIX and DFIEX, which returned 65.04%, 41.04%, 35.58%,

25.84% and 22.96%, respectively, during that period. Thus, MINJX achieved cumulative returns

that were 52.56% more than the International Equity Fund representing a 421% increase in

returns when compared to the International Equity Fund.                 Even the “worst” performing

comparable fund in this group, DFIEX achieved cumulative returns that were 10.49% more than

the International Equity Fund, representing an 84% increase in returns when compared to the

International Equity Fund.     Similarly, the compound annual growth rate (“CAGR”) of the

International Equity Fund amounted to only 5.98% during the 2011 to 2016 period.                By

comparison, the MINJX, OANIX, SICNX, AQIIX and DFIEX, funds achieved superior CAGRs

of 8.71%, 5.90%, 5.20% 3.90% and 3.51%, respectively, during that period.

       83.   Furthermore, the average fund in the International Equity Fund’s Morningstar

category, the Foreign Large Blend category, achieved greater risk-adjusted returns for the trailing

five-year period as compared to the International Equity Fund. Each of the Treynor, Sharpe and

Sortino ratios for the average fund in the fund’s Morningstar category were greater than the

International Equity Fund’s corresponding ratios. The International Equity Fund’s Treynor,

Sharpe and Sortino ratios were 6.79, 0.60 and 0.95, respectively, while the ratios for the Foreign

Large Blend category average were significantly greater at 8.32, 0.71 and 1.18, respectively,

denoting significantly less risk and/or better risk-adjusted returns.

       84.   Defendants used Plan participants as a captive investor base to prop up the

International Equity Fund even as it experienced a rash of redemptions from non-Plan

participants during the Class Period as a result of poor performance. From 2011 to 2016, the


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fund experienced a net outflow of investor assets. The fair value of the total investments in the

fund declined from $2.36 billion as of December 31, 2011, to $1.19 billion by December 31,

2016, a decline of nearly 50%. Meanwhile, the fair value of Plan participants’ assets in the fund

actually increased during this same timeframe, from about $950 million to over $1 billion. As a

result, the proportion of the International Equity Fund that consisted of assets from Plan

participants more than doubled, from about 40% as of December 31, 2011 to about 86% by

December 31, 2016. A fiduciary acting in the best interest of the Plan’s participants and with

due care would have removed the International Equity Fund from the Plan.             Defendants,

however, had business and financial incentives to keep the International Equity Fund in the Plan.

Even though the International Equity Fund performed poorly, GE Asset Management – and

thereby GE – collected millions of dollars in advisory fees from Plan participants. Furthermore,

the International Equity Fund’s fee revenue enhanced the value of GE Asset Management, which

factored into the reported $485 million price GE received from its 2016 sale of GE Asset

Management to State Street.

Strategic Investment Fund

       85.   The Strategic Investment Fund (or “SIIVX”) was a Plan investment option managed

by GE Asset Management. It was removed by the BPIC in October 2017 as a Plan investment

option and as of November 30, 2017 went out of business. The fund sought maximum total

return (total return includes both income and capital appreciation) by investing primarily in a

combination of U.S. and non-U.S. equity and debt securities and cash. If Plan participants

wanted to invest in an actively managed mixed equity/debt strategy, the Strategic Investment

Fund was their only Plan option.

       86.   In the years leading up to the Class Period, the Strategic Investment Fund

consistently performed worse than comparable mutual funds in the same investment category. In
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2008, the fund lost 28.88%, placing it in the bottom 55% of other mutual funds in the same

Moderate Allocation category, according to Morningstar. In 2009, the fund performed in the

bottom 67% of mutual funds in the Moderate Allocation category, and in 2010, the fund

performed in the bottom 85% of this category according to Morningstar, which indicated that the

fund’s performance relative to its competitors was actually deteriorating.

       87.   The performance of the Strategic Investment Fund remained subpar during the

Class Period. The fund failed to outperform its Morningstar benchmark, the MS Moderate

Target Risk Index, in 2011, 2014 and 2016.9 The fund also performed worse than the average

fund in its Morningstar category, the Moderate Allocation category, during 2011, 2014 and 2016.

Prior to closing its doors for business in November 2017, its five-year trailing return of 7.97%

was in the bottom 58% of funds in the Moderate Allocation category. Similarly, its three-year

trailing return of 6.24% was in the bottom 53% of funds in the Moderate Allocation category.

       88.   More than 900 funds make up the Moderate Allocation category (defined as funds

with a 50% to 70% equity allocation), meaning that the Plan fiduciaries had hundreds of better

performing, non-proprietary mutual funds to choose from at the start of the Class Period that

offered a comparable investment strategy. The Plan fiduciaries, however, did not select these

funds for inclusion in the Plan which enabled GE to earn millions of dollars in fee income.

       89.   If the Plan fiduciaries had faithfully executed their fiduciary duties to the Plan and

its participants, they would have selected one of the hundreds of better performing funds

available with a comparable strategy. For example, as of December 19, 2017, the T. Rowe Price


9
    The fund uses three benchmarks: the S&P 500 Index, the MSCI All Country World ex-US
Index and the Barclays Capital U.S. Aggregate Bond Index. Instead of using three indexes, or
calculating some blended average, the Morningstar benchmark is a reasonable alternative and
designed to serve as an appropriate benchmark for funds with a similar investment strategy and
risk profile to that of the Strategic Investment Fund.

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Capital Appreciation fund (“PRWCX”) achieved a five-year trailing return of 12.61%, or

approximately 4.64% above the return achieved by the Strategic Investment Fund during this

timeframe.

       90.   Even certain funds that charged less fees than the Strategic Investment Fund

achieved superior rates of return. This is significant because, as one of the largest retirement

plans in the United States, the Plan should have been able to provide Plan participants with

investment options that achieved superior returns at a fraction of the cost to retail investors or

even other smaller retirement plans. GE Asset Management charged investor class shares in the

Strategic Investment Fund fees and expenses ranging from 0.34% to 0.36% until the sale of

GE Asset Management to State Street.10 By contrast, the American Funds American Balanced

Fund Class R-6 (“RLBGX”) charged investors fees and expenses of approximately 0.29% for a

comparable strategy. Yet, as of December 19, 207 this fund achieved a superior five-year

trailing return of 11.26%, or approximately 3.29% above the return achieved by the Strategic

Investment Fund during this timeframe. Similarly, the Vanguard Wellington Fund Admiral

Shares (“VWENX”) charged fees and expenses of approximately 0.16% to 0.18% for a

comparable strategy. Yet, as of December 19, 2017, this fund achieved a superior five-year

trailing return of 10.53%, or approximately 2.81% above the return achieved by the Strategic

Investment Fund during this timeframe.

       91.   The following table summarizes the poor performance and cumulative harm to

investors in the Strategic Investment Fund as compared to other available investment alternatives

that were not included in the Plan:


10
    In early 2017, after the sale to State Street, GE Asset Management adopted a partially passive
investment strategy for the Strategic Investment Fund and lowered the fees and expenses charged
to investors to 0.32%, including waivers.

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                                               GE ERISA
              GE Strategic Investment Fund (SIIVX) As Compared to Peer Group Investments

                                                                                      Compounded
                                                                          Cumulative Annual Growth
Fund                             2011     2012   2013   2014  2015   2016  Returns        Rate
SIIVX                           -2.56%   12.85% 16.78% 4.88% -1.18% 5.52%   40.44%       5.82%
T. Rowe Price Capital
                                                                                              10.85%
Appreciation Fund (PRWCX)       3.19%    14.70% 22.43% 12.25% 5.42% 8.22%            85.57%
   +/-SIIVX                     5.75%     1.85% 5.65% 7.37% 6.60% 2.70%              45.13%   5.03%
Dodge & Cox Balanced Fund
                                                                                              10.71%
(DODBX)                         -1.66%   18.32% 28.37% 8.87% -2.87% 16.56%           84.10%
   +/-SIIVX                      0.90%    5.47% 11.59% 3.99% -1.69% 11.04%           43.67%   4.88%
American Funds American
                                                                                              9.97%
Balanced (RLBGX)                4.16%    14.57% 22.12% 9.22% 2.03% 8.90%             76.85%
   +/-SIIVX                     6.72%     1.72% 5.34% 4.34% 3.21% 3.38%              36.42%   4.15%
Vanguard Wellington Fund
                                                                                              9.41%
Admiral Shares (VWENX)          3.95%    12.67%   19.76%    9.90%   0.14%   11.09%   71.48%
    +/-SIIVX                    6.51%    -0.18%   2.98%     5.02%   1.32%    5.57%   31.05%   3.58%
Fidelity Puritan Fund (FPURX)   0.67%    13.79%   20.34%   10.75%   1.77%    5.03%   63.19%   8.50%
    +/-SIIVX                    3.23%     0.94%   3.56%     5.87%   2.95%   -0.49%   22.75%   2.68%

        92.   As the chart above shows, the Strategic Investment Fund’s cumulative return from

2011 to 2016 was only 40.44%, compared to available alternative investments such as PRWCX,

DODBX, RLBGX, VWENX, and FPRUX which returned 85.57%, 84.10%, 76.85%, 71.48%,

and 63.19% respectively, during that period. Thus, PRWCX achieved cumulative returns that

were 45.13% more than the Strategic Investment Fund representing a 111% increase in returns

when compared to the Strategic Investment Fund. Even the “worst” performing comparable

fund in this group, FPRUX, achieved cumulative returns that were 22.75% more than the

Strategic Investment Fund, representing a 63.19% increase in returns when compared to the

Strategic Investment Fund. Similarly, the CAGR of the Strategic Investment Fund amounted to

only 7.58% during the 2011 to 2016 period. By comparison, the PRWCX, DODBX, RLBGX,

VWENX, and FPRUX funds achieved superior CAGRs of 10.85%, 10.71%, 9.97%, 9.41%, and

8.50% respectively, during that period.

        93.   Furthermore, the average fund in the Strategic Investment Fund’s Morningstar

category, the Moderate Allocation category, achieved greater risk-adjusted returns for the trailing

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five-year period as compared to the Strategic Investment Fund. Each of the Treynor, Sharpe and

Sortino ratios for the average fund in the fund’s Morningstar category were greater than the

Strategic Investment Fund’s corresponding ratios. The Strategic Investment Fund’s Treynor,

Sharpe and Sortino ratios were 6.77, 1.10 and 1.95, respectively, while the ratios for the average

fund in the Moderate Allocation category were significantly greater at 7.12, 1.12 and 2.06,

respectively, denoting significantly less risk and/or better risk-adjusted returns.

       94.   Defendants used Plan participants as a captive investor base to prop up the Strategic

Investment Fund.      Throughout the Class Period, the proportion of assets in the Strategic

Investment Fund made up of Plan participant assets exceeded 60%. Indeed, even as the amount

of non-Plan participant assets in the fund decreased, the fair value of Plan assets in the fund

increased.   For example, as of December 31, 2011, Plan assets made up $442 million of

$685 million in overall assets in the fund (or 65%), meaning that non-Plan assets constituted

$243 million. By December 31, 2016, Plan assets made up $585 million of $772 million in

overall assets in the fund (or 76%), meaning that non-Plan assets had declined to $187 million, or

by more than 23%, even as Plan assets in the fund had increased by over 32%. In other words,

as other investors were fleeing the Strategic Investment Fund, the Plan fiduciaries kept the fund

in the Plan as the only available actively managed bond/stock mixed strategy investment option

and failed to replace the fund with more prudent options despite the fact that such options were

readily available.   Notably, after State Street purchased GE Asset Management, GE Asset

Management announced that it would be winding down the Strategic Investment Fund and

closing the fund to new investors.

       95.   A fiduciary acting in the best interest of the Plan’s participants and with due care

would have removed the Strategic Investment Fund from the Plan. Defendants, however, had


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business and financial incentives to keep the Strategic Investment Fund in the Plan. Even though

the Strategic Investment Fund performed poorly, GE Asset Management – and thereby GE –

collected millions of dollars in advisory fees from Plan participants. Furthermore, the Strategic

Investment Fund’s fee revenue enhanced the value of GE Asset Management, which factored

into the reported $485 million price GE received from its sale of GE Asset Management to State

Street.

U.S. Equity Fund

          96.   The U.S. Equity Fund (“GESSX”) is a Plan investment option managed by

GE Asset Management. The fund seeks long-term growth of capital and income by investing at

least 80% of its net assets in equity securities of U.S. companies, such as common and preferred

stocks. The fund primarily invested in large cap U.S. equities during the Class Period. If Plan

participants wanted to invest in an actively managed large cap strategy, the U.S. Equity Fund

was their only Plan option.

          97.   In the years leading up to the Class Period, the U.S. Equity Fund performed worse

than comparable mutual funds in the same investment category. In 2009, the fund achieved total

returns in the bottom 60% among funds in the Morningstar Large Growth investment category,

and, in 2010, the fund achieved total returns in the bottom 87% of the Morningstar Large Growth

investment category, which indicated that the fund’s performance relative to its competitors was

actually deteriorating.

          98.   The performance of the U.S. Equity Fund remained subpar during the Class Period.

The fund failed to outperform its benchmark, the S&P 500 Index, in 2011, 2014, 2015 and 2016.

The fund also performed worse than the average fund in its category during 2011, 2015 and

2016. As of December 19, 2017 its three-year trailing return of 8.99% was in the bottom 71% of


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funds in the Morningstar Large Blend category.11 Additionally, as of December 19, 2017, the

Fund underperformed its benchmark for the one year, five year, and ten year trailing period.

       99.   More than 1,300 funds make up the Large Blend category, meaning that Defendants

had hundreds of better performing, non-proprietary mutual funds to choose from that offered

comparable investment strategies. The Plan fiduciaries, however, did not select these funds for

inclusion in the Plan, which enabled GE to earn millions of dollars in fee income.

       100. If the Plan fiduciaries had faithfully executed their fiduciary duties to the Plan and

its participants they would have selected one of the hundreds of better performing funds

available with comparable strategies. For example, as of December 19, 2017, the Edgewood

Growth Fund Class I (“EGFIX”) achieved a five-year trailing return of 19.48%, or

approximately 4.81% above the return achieved by the U.S. Equity Fund during this timeframe.

Likewise, as of December 19, 2017, the T. Rowe Price Institutional Large Cap Growth Fund

(“TRLGX”) achieved a five-year trailing return of 19.73%, or approximately 5.06% above the

return achieved by the U.S. Equity Fund during this timeframe. Even the low-cost option

Vanguard Growth and Income Fund (“VGIAX”), as of December 19, 2017, achieved a five-year

trailing return of 15.86%, or approximately 1.19% above the return achieved by the U.S. Equity

Fund during this timeframe.

       101. The following table summarizes the poor performance and cumulative harm to

investors in the U.S. Equity Fund as compared to other available investment alternatives that

were not included in the Plan:




11
    Morningstar alternatively lists the fund in the Large Growth and the Large Blend investment
categories.

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                                            GE ERISA
                GE U.S. Equity Fund (GESSX) As Compared to Peer Group Investments

                                                                                 Compounded
                                                                      Cumulative   Annual
Fund                         2011   2012   2013   2014   2015   2016   Returns   Growth Rate
GESSX                       -2.16% 16.78% 35.15% 13.27% -2.05% 10.13%  88.68%      11.16%
Edgewood Growth Class
Institutional Fund (EGFIX)  3.73% 18.72% 37.19% 13.50% 11.59%    3.57%   121.62%    14.18%
     +/- GESSX              5.89% 1.94% 2.04% 0.23% 13.64%      -6.56%    32.94%     3.02%
Fidelity Growth Company
(FDGRX)                     0.67% 18.52% 37.61% 14.44% 7.83%     6.01%   114.79%    13.59%
     +/- GESSX              2.83% 1.74% 2.46% 1.17% 9.88%       -4.12%    26.11%     2.43%
T. Rowe Price Institutional
Large Cap Growth Fund
(TRLGX)                     -1.40% 17.55% 44.44% 8.72% 10.08%    2.85%   108.99%    13.07%
     +/- GESSX              0.76% 0.77% 9.29% -4.55% 12.13%     -7.28%    20.31%     1.91%
PRIMECAP Odyssey Growth
Fund (POGRX)                -2.22% 16.76% 39.30% 13.92% 6.18%    8.42%   108.57%    13.03%
     +/- GESSX              -0.06% -0.02% 4.15% 0.65% 8.23%     -1.71%    19.89%     1.87%
Vanguard Growth and Income
Fund (VGIAX)                2.54% 17.05% 32.74% 14.16% 2.03%    12.12%   108.06%    12.99%
     +/- GESSX              4.70% 0.27% -2.41% 0.89% 4.08%      1.99%     19.38%     1.83%

       102. As the chart above shows, the U.S. Equity Fund’s cumulative return during the

2011 through 2016 period was only 88.68%, compared to available alternative investments such

as EGFIX, FDGRX, TRLGX, POGRX, and VGIAX which returned 121.62%, 114.79%

108.99%, 108.57% and 108.06%, respectively, during that period.          Thus, EGFIX achieved

cumulative returns that were 32.94% more than the U.S. Equity Fund representing a

34% increase in returns when compared to the U.S. Equity Fund. Even the “worst” performing

comparable fund in this group, VGIAX, achieved cumulative returns that were 19.38% more

than the U.S. Equity Fund, representing a nearly 22% increase in returns when compared to the

U.S. Equity Fund. Similarly, the CAGR of the U.S. Equity Fund amounted to only 14.04%

during the 2011 through 2016 period. By comparison, the EGFIX, FDGRX, TRLGX, POGRX,

and VGIAX funds achieved superior CAGRs of 14.18%, 13.59% 13.07%, 13.03% and 12.99%,

respectively, during that period.



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       103. Furthermore, the average fund in the U.S. Equity Fund’s Morningstar category, the

Large Growth category, achieved greater risk-adjusted returns for the trailing five-year period as

compared to the U.S. Equity Fund. Each of the Treynor, Sharpe and Sortino ratios for the

average fund in the fund’s Morningstar category were greater than the U.S. Equity Fund’s

corresponding ratios. The U.S. Equity Fund’s Treynor, Sharpe and Sortino ratios were 12.48,

1.25 and 2.27, respectively, while the ratios for the average fund in the Large Growth category

were significantly greater or the same at 12.73, 1.25 and 2.79, respectively, denoting

significantly less risk and/or better risk-adjusted returns.

       104. Defendants used Plan participants as a captive investor base to prop up the

U.S. Equity Fund. Throughout the Class Period, Plan participant assets in the fund ranged from

about $2.5 billion to nearly $3.5 billion.

       105. A fiduciary acting in the best interest of the Plan’s participants and with due care

would have removed the U.S. Equity Fund from the Plan. Defendants, however, had business

and financial incentives to keep the U.S. Equity Fund in the Plan. Even though the U.S. Equity

Fund performed poorly, GE Asset Management – and thereby GE – collected millions of dollars

in advisory fees from Plan participants. Furthermore, the U.S. Equity Fund’s fee revenue

enhanced the value of GE Asset Management, which factored into the reported $485 million

price GE received from its 2016 sale of GE Asset Management to State Street.

Income Fund

       106. The Income Fund (“GESLX”) is a Plan investment option managed by GE Asset

Management. The fund seeks a high interest rate of return over a long-term period consistent

with the preservation of capital by investing at least 80% of its net assets in debt securities.

These goals, according to the Plan Document, were to be pursued “consistent with prudent

investment management and preservation of capital.” The fund primarily invested in debt
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securities with a maturity rate of more than one year during the Class Period. If Plan participants

wanted to invest in an actively managed intermediate bond strategy, the U.S. Income Fund was

their only Plan option.

       107. Throughout the Class Period, the performance of the Income Fund varied. In two

years, 2014 and 2015, it failed to clear its benchmark, the Barclays U.S. Aggregate Bond Index.

Several funds in the Morningstar Intermediate-Term Bond Category, which contains more than

900 funds, were available to Defendants that offered investors comparable, or even superior,

returns. Defendants, however, did not select these funds for inclusion in the Plan which enabled

GE to earn millions of dollars in fee income.

       108. If the Plan fiduciaries had faithfully executed their fiduciary duties to Plan

participants they would have selected one of the many funds available to them with comparable

strategies. For example, as of December 19, 2017 the Morgan Stanley Institutional Fund Trust

Core Plus Fixed Income Portfolio Class I (“MPFIX”) achieved a five-year trailing return of

4.98%, or approximately 2.49% above the return achieved by the Income Fund during this

timeframe.    Likewise, as of December 19, 2017, the Alliance Bernstein Income Fund

(“AKGAX”) achieved a five-year trailing return of 3.51%, or approximately 1.02% above the

return achieved by the Income Fund during this timeframe. Similarly, as of December 19, 2017,

the BlackRock Total Return Fund Institutional Shares (“MAHQX”) achieved a five-year trailing

return of 3.13%, or approximately 0.64% above the return achieved by the Income Fund during

this timeframe.

       109. The following table summarizes the poor performance and cumulative harm to

investors in the Income Fund as compared to other available investment alternatives that were

not included in the Plan:


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                                         GE ERISA
                GE Income Fund (GESLX) As Compared to Group Peer Investments

                                                                           Compounded
                                                                Cumulative   Annual
Fund                        2011  2012  2013 2014 2015     2016  Returns   Growth Rate
GESLX                      8.01% 5.87% -0.85% 5.83% 0.34% 3.50%  24.61%       3.74%
Morgan Stanley Institutional
Fund (MPFIX)                  6.19% 10.00% -0.23% 8.08% -0.30% 12.03%   40.69%    5.85%
   +/-GESLX                  -1.82% 4.13% 0.62% 2.25% -0.64% 8.53%      16.08%    2.12%
AB Income Fund Class A
(AKGAX)                       9.40% 11.87% -3.10% 8.69% 0.44% 5.42%     36.48%    5.32%
   +/-GESLX                   1.39% 6.00% -2.25% 2.86% 0.10% 1.92%      11.87%    1.59%
DoubleLine Total Return Bond
Fund Classs I (DBLTX)         9.51% 9.16% 0.02% 6.73% 2.32% 2.17%       33.41%    4.92%
   +/- GESLX                  1.50% 3.29% 0.87% 0.90% 1.98% -1.33%       8.80%    1.19%
Voya Intermediate Bond
Portfolio Class I (IPIIX)     7.54% 9.39% -0.12% 6.67% 0.60% 4.33%      31.55%    4.68%
   +/-GESLX                  -0.47% 3.52% 0.73% 0.84% 0.26% 0.83%        6.94%    0.94%
BlackRock Total Return Fund
(MAHQX)                       4.53% 10.46% -0.20% 8.05% 0.35% 3.45%     29.26%    4.37%
   +/-GESLX                  -3.48% 4.59% 0.65% 2.22% 0.01% -0.05%       4.65%    0.63%

       110. As the chart above shows, the Income Fund’s cumulative return during the 2011

through 2016 period was only 24.61%, compared to available alternative investments such as

MPFIX, AKGAX, DBLTX, IPIIX, and MAHQX, which returned 40.69%, 36.48%, 33.41%,

31.55%, and 29.26% respectively, during that period. Thus, MPFIX achieved cumulative returns

that were 16.08% more than the Income Fund representing a 65% increase in returns when

compared to the Income Fund. Even the “worst” performing comparable fund in this group,

MAHQX, achieved cumulative returns that were 4.65% more than the Income Fund,

representing a 19% increase in returns when compared to the Income Fund. Similarly, the

CAGR of the Income Fund amounted to only 2.90% during the 2011 to 2016 period. By

comparison, the MPFIX, AKGAX, DBLTX, IPIIX, and MAHQX, funds achieved superior

CAGRs of 5.85%, 5.32%, 4.92%, 4.68% and 4.37% respectively, during that period.




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       111. The Plan fiduciaries used Plan participants as a captive investor base to prop up the

Income Fund. Throughout the Class Period, Plan participant assets in the fund ranged from

about $1.8 billion to over $2.2 billion.

       112. A fiduciary acting in the best interest of the Plan’s participants and with due care

would have removed the Income Fund from the Plan. Defendants, however, had business and

financial incentives to keep the Income Fund in the Plan. Even though the Income Fund

experienced mediocre performance, GE Asset Management – and thereby GE – collected

millions of dollars in advisory fees from Plan participants. Furthermore, the Income Fund’s fee

revenue enhanced the value of GE Asset Management, which factored into the reported

$485 million price GE received from its 2016 sale of GE Asset Management to State Street.

Small Cap Equity Fund

       113. The Small Cap Equity Fund (“SIVIX”) is a Plan investment option managed by GE

Asset Management as a manger-of-managers. The fund seeks long-term growth of capital by

investing at least 80% of its net assets in equity securities of smaller companies, such as common

and preferred stocks.    Rather than manage the Small Cap Equity Fund directly, GE Asset

Management contracted out advisory services for the fund to a number of sub-advisors and

retained a fee from Plan participants above and beyond what was paid to the sub-advisors. If

Plan participants wanted to invest in an actively managed small cap strategy, the Small Cap

Equity Fund was their only Plan option.

       114. Throughout the Class Period, the performance of the Small Cap Equity Fund varied.

In two years, 2012 and 2015, it failed to clear its benchmark, the Russell 2000 Index. In three

years, 2012, 2013 and 2014, it failed to crack the top 50% of funds in the Morningstar Small

Blend category. Despite its at times middling performance, the fund charged fees as high 0.89%.

Other funds in the Small Blend Category, which contains more than 800 funds, were available to
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Defendants that offered investors comparable, or even superior, returns at lower costs.

Defendants, however, did not select these funds for inclusion in the Plan which enabled GE to

earn millions of dollars in fees.

       115. If the Plan fiduciaries had faithfully executed their fiduciary duties to Plan

participants they would have selected one of the many funds available to them with comparable

strategies at a lower cost. As one of the largest retirement plans in the United States, the Plan

should have been able to provide Plan participants with investment options that achieved

superior returns at a fraction of the cost to retail investors or even other smaller retirement plans.

For example, the fees and expenses charged to investors in the Small Cap Equity Fund was

0.88% to 0.89%, this was 69% more than the 0.52% charged by the DFA U.S. Micro Cap

Portfolio Institutional Class (“DFSCX”). Yet this fund achieved a superior five-year trailing

return of 15.98%, or approximately 1.11% above the return achieved by the Small Cap Equity

Fund during this timeframe. Similarly, the fees and expenses charged to investors in the Small

Cap equity fund was 67% more than the fees and expenses the Vanguard Strategic Small-Cap

Equity Fund (“VSTCX”) charged investors. Yet this fund achieved a superior five-year trailing

return of 15.82%, or approximately 0.95% above the return achieved by the Small Cap Equity

Fund during this timeframe. Other funds that charged comparable fees, such as the Harbor Small

Cap Value Fund Institutional Class (“HASCX”), which charged fees and expenses of 0.84% to

0.86%, achieved a superior five-year trailing return of 17.49%, or approximately 2.62% above

the return achieved by the Small Cap Equity Fund during this timeframe.

       116. The Plan fiduciaries used Plan participants as a captive investor base to prop up the

Small Cap Equity Fund. Throughout the Class Period, the proportion of assets in the fund made

up of Plan participant assets routinely exceeded 90%, with Plan participant assets in the fund


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ranging from about $800 million to nearly $1.3 billion. The Plan fiduciaries had considerable

bargaining power to reduce fees and expenses and pass these savings on to Plan participants.

Instead, the Plan fiduciaries used their power over Plan assets to include an excessively

expensive mutual fund option in the Plan that would allow GE and GE Asset Management to

reap profits as a manger-of-managers while contracting out advisory services for the fund to

various sub-advisors.

       117. A fiduciary acting in the best interest of the Plan’s participants and with due care

would have removed the Small Cap Equity Fund from the Plan. However, the Plan fiduciaries

had business and financial incentives to keep the Small Cap Equity Fund in the Plan. Even

though the Small Cap Equity Fund charged excessively high fees, GE Asset Management – and

thereby GE – collected millions of dollars in advisory fees from Plan participants. Furthermore,

the Small Cap Equity Fund’s fee revenue enhanced the value of GE Asset Management, which

factored into the reported $485 million price GE received from its 2016 sale of GE Asset

Management to State Street.

                              CLASS ACTION ALLEGATIONS

       118. Plaintiffs bring this action in a representative capacity on behalf of the Plan and as a

class action pursuant to Rule 23 of the Federal Rules of Civil Procedure on behalf of themselves

and a Class defined as follows:

       All participants in the GE Retirement Savings Plan (f/k/a General Electric
       Savings and Security Program) from October 30, 2011 to the date of Judgment
       who were invested in one or more of the GE Funds through the Plan.

       Excluded from the Class are (a) Defendants, (b) any fiduciaries of the Plan, (c) the
       officers and directors of GE and any entity in which GE has or had a controlling
       interest during the Class Period, and (d) members of the immediate families and
       their legal representatives, heirs, successors or assigns of any such excluded party.




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       Impracticability of Joinder

       119. The members of the Class are so numerous that joinder of all members is

impracticable. Based on the most recent Form 5500 filed with the DOL in 2016, as of January 1

2016, the Plan had over 240,000 participants.

       Commonality

       120. The issues of liability are common to all members of the Class and are capable of

common answers as those issues primarily focus on Defendants’ acts (or failure to act). The

common issues include whether the Plan fiduciaries breached various fiduciary duties to the

Plan, whether certain Defendants engaged in prohibited transactions, whether the fiduciary

defendants are liable for their co-fiduciaries breaches, whether GE and GE Asset Management

knowingly participated in these breaches and violations, whether the Plan suffered losses as a

result of the fiduciary breaches and other violations and what is the appropriate relief for

Defendants’ violations of ERISA.

       Typicality

       121. Plaintiffs’ claims are typical of the claims of the Class because their claims arise

from the same event, practice and/or course of conduct as other members of the Class. Plaintiffs’

claims challenge whether the fiduciaries of the Plan acted consistently with their fiduciary duties,

whether they engaged in prohibited transactions, whether the non-fiduciaries knowingly

participated in those breaches and violations and whether those breaches or violations caused

losses or otherwise harmed the Plan and their participants or resulted in profits to those

fiduciaries and non-fiduciaries.    These are claims common to, and typical of, other Class

members and these claims seek recovery on behalf of the Plan. As is the case with all Class

Members, whose accounts were invested in any of the GE Funds, the BPIC chose the funds

representing the selected asset classes in which Plaintiffs invested in the Plan.
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       Adequacy

       122. Plaintiffs will adequately protect the interests of the Class and have retained counsel

experienced in class action litigation in general and ERISA class actions involving fiduciary

breaches in particular.

       123. Plaintiffs have no interests that conflict with those of the Class. Defendants do not

have any unique defenses against any of the Plaintiffs that would interfere with their

representation of the Class.

       Rule 23(b)(1)

       124. The requirements of Rule 23(b)(1)(A) are satisfied in this case. Fiduciaries of

ERISA-covered plans have a legal obligation to act consistently with respect to all similarly

situated participants and to uniformly act in the best interests of the Plan and their participants.

As this action challenges whether the Plan fiduciaries acted consistently with their fiduciary

duties to the Plan, prosecution of separate actions by individual members would create the risk of

inconsistent or varying adjudications with respect to individual members of the Class that would

establish incompatible standards of conduct in the administration of the Plan.

       125. The requirements of Rule 23(b)(1)(B) are satisfied in this case. Administration of

an ERISA plan requires that all similarly situated participants be treated consistently. As such,

whether Defendants fulfilled their fiduciary obligations with respect to the Plan and the Plan’s

participants in this action would, as a practical matter, be dispositive of the interests of the other

members of the Class regardless of whether they are parties to the adjudication.

       Rule 23(b)(2)

       126. The requirements of Rule 23(b)(2) are met in this action. Defendants have applied

the same or substantially similar investment policies and investment options in the Plan that

cover all members of the Class. The breaches and violations alleged against the Plan fiduciaries
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(and the non-fiduciaries who participated in those breaches of violations) with respect to the

Class relate to policies that applied to, respectively, all members of the Class.            As such,

Defendants have acted or refused to act on grounds generally applicable to the Class as a whole.

       127. The primary relief sought on behalf of the Class is a determination that the Plan

fiduciaries breached their fiduciary duties (and that the non-fiduciaries knowingly participated in

those breaches or violations), a determination of the amount by which those breaches adversely

affected the Plan, and an order requiring Defendants to make good those losses to the Plan and

restore any profits to the Plan. Such relief is accomplished by issuance of a declaration or an

injunction and therefore the primary requested relief constitutes final injunctive or declaratory on

behalf the Class with respect to the Plan.

       Rule 23(b)(3)

       128. The requirements of Rule 23(b)(3) are also satisfied. The common questions of law

and fact concern whether the Plan fiduciaries breached their fiduciary duties to the Plan.

Because Class members are those participants whose accounts were invested in the affected

investments, common questions related to liability will necessarily predominate over individual

questions. Similarly, as relief will be on behalf of and will flow to the Plan, common questions

related to remedies and relief will likewise predominate over individual issues.

       129. A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. The losses suffered by many of the individual members of the

Class are relatively small in proportion to the substantial cost to bring this litigation, and it would

therefore be impracticable for individual members to bear the expense and burden of individual

litigation to enforce their rights. The fiduciaries of the Plan have an obligation to treat all

similarly situated participants similarly and are subject to uniform standards of conduct under

ERISA. Thus, the members of the Class have an interest in having this action proceed in a single
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action. As such, no Class member has an interest in individually controlling the prosecution of

this matter.

        130. Plaintiffs and their counsel are aware of only one other lawsuit filed by a member of

the Class concerning this controversy (which has not been consolidated with this action) Haskins

v. GE Corp., et al., 17-cv-01960 (S.D. Cal.), which Defendants have sought to transfer to this

District.

        131. This District is the most desirable forum for concentration of this litigation because:

(1) GE is headquartered in this District; (2) a number of the actions challenged by this Complaint

took place in this District, chiefly, on information and belief, Investment Committee meetings;

(3) the Plan is administered in or near this District; (4) many of the employees of the Company

are located in or near this District; and (5) many of the employees of GE who are fiduciaries of

the Plan can be found in this District.

        132. Given the nature of the allegations there are no difficulties likely to be encountered

in the management of this matter as a class action.

                                            COUNT I

            Breach of Fiduciary Duties in Violation of ERISA §404(a)(1)(A) and (B)
                        Against the Investment Committee Defendants
                            and the Asset Management Defendants

        133. Plaintiffs repeat and reallege the above paragraphs as though fully set forth herein.

        134. The Investment Committee Defendants were fiduciaries of the Plan under ERISA

§3(21), 29 U.S.C. §1002(21), among other reasons, because according to the Silberstein

Declaration, the BPIC and its members were the fiduciaries responsible for reviewing and who

did review periodic reports on the performance of investment options and for considering any

recommendations concerning the addition of new investment options or the suspension of any

existing investment options not required to be offered by the Plan Document.
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       135. The Asset Management Defendants were fiduciaries of the Plan under ERISA

§§3(21) and/or 402(a)(1), 29 U.S.C. §§1002(21) and/or 1102(a)(1) because they were designated

in the Plan Document and the Trust Agreement as the Trustees of the Plan, were named

fiduciaries under the Plan, managed and disposed of Plan investment options, were charged with

making recommendations about the prudence of the Plan investments, including the GE Funds,

and directed the available investment options to offer participants (other than the GE Stock Fund

and U.S. Savings Bonds).

       136. As fiduciaries of the Plan, the Investment Committee Defendants and the Asset

Management Defendants were required pursuant to ERISA §404(a)(1), 29 U.S.C. §1104(a)(1), to

act: “(A) for the exclusive purpose of: (i) providing benefits to participants and their

beneficiaries; and (ii) defraying reasonable expenses of administering the plan”; and “(B) to

discharge their duties on an ongoing basis with the care, skill, prudence, and diligence under the

circumstances then prevailing that a prudent man acting in a like capacity and familiar with such

matters would use in the conduct of an enterprise of a like character and with like aims.”

       137. ERISA’s duty of prudence required the Investment Committee Defendants and the

Asset Management Defendants to give appropriate consideration to those facts and

circumstances that, given the scope of their fiduciary investment duties, they knew or should

have known were relevant to the particular investments of the Plan and to act accordingly. See

29 C.F.R. §2550.404a-1. The Supreme Court has concluded that this duty is “a continuing duty

to monitor [plan] investments and remove imprudent ones.” Tibble, 135 S. Ct. at 1828.

       138. As described above, the Investment Committee Defendants and the Asset

Management Defendants failed to properly evaluate the Plan’s investments to ensure that each of




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these investments remained prudent and failed to remove the GE Funds that were no longer

prudent.

       139. The Asset Management Defendants and the Investment Committee Defendants had

a conflict of interest to select and retain GE Funds as investment options for the Plan. Acting in

their self-interest, rather than the best interests of the Plan and its participants, the Investment

Committee Defendants and the Asset Management Defendants imprudently and disloyally

selected and retained investment options that performed poorly and/or charged excessive fees

that benefited GE affiliated entities, rather than Plan participants, despite the availability of

superior – and readily available – investment alternatives as detailed herein. A prudent fiduciary,

in possession of the same information, would have removed the GE Funds as investment options

in the Plan, replaced them with more prudent, lower cost and/or better performing alternatives,

and used the size, leverage and bargaining power of the Plan, which is one of the largest defined-

contribution plans in the United States, to secure access to superior investment alternatives for

Plan participants.

       140. The Investment Committee Defendants and the Asset Management Defendants

breached their duties of prudence and loyalty with respect to the Plan by at least the following

actions or omissions:

               (a)      failing to properly investigate the availability of, and give appropriate

consideration to, lower-cost funds with comparable or superior performance as alternatives to the

GE Funds;

               (b)      failing to evaluate on a regular basis the performance and fees and

expenses of the GE Funds and the adverse impact of excessive fees and expenses on the long-

term performance of the GE Funds;


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                (c)      failing to implement and employ an ongoing process to control the fees

and expenses of the GE Funds;

                (d)      considering and being motivated in whole or in part by the more than

$175 million collected in fees, and need to increase the value of GE Asset Management

(eventually resulting in a sale for $485 million) in order to drive revenues and profits to GE and

its affiliated entities; and

                (e)      failing to promptly remove the imprudent GE Funds.

        141. Through these actions and omissions, the Investment Committee Defendants and

the Asset Management Defendants failed to discharge their duties with respect to the Plan:

(A) solely in the interest of the participants and beneficiaries of the Plan, and for the exclusive

purpose of providing benefits to participants and their beneficiaries and defraying reasonable

expenses of administering the Plan, in violation of ERISA §404(a)(1)(A), 29 U.S.C.

§1104(a)(1)(A); and (B) failed to act with the care, skill, prudence and diligence under the

circumstances then prevailing that a prudent man acting in a like capacity and familiar with such

matters would use in the conduct of an enterprise of a like character and with like aims, in

violation of ERISA §404(a)(1)(B), 29 U.S.C. §1104(a)(1)(B).

        142. As a direct and proximate result of these breaches, the Plan, Plaintiffs and members

of the Class suffered substantial losses in the form of higher fees or lower returns on their

investments than they would have otherwise experienced. Additionally and regardless of the

losses incurred by Plaintiffs or any member of the Class, pursuant to ERISA §§502(a)(2) and

(a)(3), and 409(a), 29 U.S.C. §§1132(a)(2) and (a)(3), and 1109(a), the Investment Committee

Defendants, the Asset Management Defendants and any non-fiduciary which knowingly




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participated in these breaches are liable to disgorge all profits made as a result of these

Defendants’ breaches of the duties of loyalty and prudence.

                                           COUNT II

       Breaches of Fiduciary Duties in Violation of ERISA §404(a)(1)(A), (B) and (D)
                Against Defendant GE and the Pension Board Defendants

       143. Plaintiff repeats and incorporates the allegations contained in the foregoing

paragraphs as if fully set forth herein.

       144. According to Section XIV.A.3. of the Plan Document, the Pension Board had the

following power, duty, obligation and responsibility with respect to the management and control

of the operation and administration of the Plan (in addition to others): “[m]aking, amending and

enforcing all appropriate rules and regulations.” Pursuant to that authority, the Pension Board

had the power, duty, obligation and responsibility to create any rules and regulations regarding

the selection and retention of investments in the Plan, and even in the absence of the Pension

Board actually making such rules or regulations, had the power, duty, obligation and

responsibility to enforce any rules and regulations required by ERISA, including §§404(a) and

406, and the applicable DOL Regulations regarding the selection and retention of investments by

the Plan.

       145. Pursuant to Section XIV.A.1. of the Plan Document, except to the extent that “the

management and control of the operation and administration of the Plan have been expressly

allocated hereunder” (i.e., in the Plan Document) to other fiduciaries, the control and

management of the operation and administration of the Plan remained vested in the Company

(i.e., Defendant GE). Nothing in the Plan Document set forth that any other fiduciary of the Plan

had authority with respect to the management and control of the operation and administration of

the Plan regarding the selection of investment options for the Plan. As such, regardless of

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whether other fiduciaries of the Plan actually exercised authority in selecting or retaining the

investment options of the Plan, Defendant GE had the authority pursuant to the Section XIV.A.1.

regarding the selection and retention of investment options in the Plan.

       146. As fiduciaries of the Plan, the Pension Board Defendants and GE were required

under ERISA §404(a)(1)(A), (B) and (D), 29 U.S.C. §1104(a)(1)(A), (B), and (D), to discharge

their duties with respect to the Plan solely in the interest of the participants and beneficiaries and

(A) for the exclusive purpose of providing benefits to the participants and beneficiaries of the

Plan; (B) with the care, skill, prudence and diligence under the circumstances then prevailing that

a prudent person acting in like capacity and familiar with such matters would use; and (D) in

accordance with the documents and instruments governing the Plan in so far as those documents

are consistent with ERISA.

       147. In response to Plaintiff LaTorre’s request for documents pursuant to ERISA

§104(b), 29 U.S.C. §1024(b), the Plan Administrator produced no documents setting forth any

written rules or regulations made or amended by the Pension Board concerning the selection or

retention of investments in the Plan. Based on the lack of any such documents provided, the

Pension Board did not make any rules or regulations concerning the selection or retention of

investments by the Plan.

       148. In response to Plaintiff LaTorre’s request for documents pursuant to ERISA

§104(b), 29 U.S.C. §1024(b), the Plan Administrator produced no documents evidencing that GE

had taken any steps to protect the Plan or its participants in connection with the selection or

retention of investments in the Plan and the Plan Administrator did not produce any documents

evidencing that any other fiduciary had been delegated in writing, as required by Section

XIV.A.5. of the Plan, to undertake these responsibilities. Even if some other fiduciary had been


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properly delegated to undertake these responsibilities, Defendant GE would have remained

responsible to ensure that the delegated fiduciary had properly preformed those responsibilities.

       149. The Pension Board Defendants and Defendant GE breached their duties of prudence

and loyalty with respect to the Plan by at least the following actions or omissions:

               (a)     as to Defendant GE, failing to ensure that fiduciary authority was properly

delegated to the Investment Committee and/or the Asset Management Defendants in connection

with the selection or retention of investment options under the Plan;

               (b)     as to Defendant GE and the Pension Board Defendants, failing to make or

enforce appropriate rules and regulations or impose other restrictions regarding the proper

investigation, selection or retention of investment options under the Plan;

               (c)     failing to require that the Investment Committee Defendants or the Asset

Management Defendants had properly investigated the availability of, and give appropriate

consideration to, lower-cost funds with comparable or superior performance as alternatives to the

GE Funds or to the extent that those fiduciaries were not properly delegated to so do, or did not

do, ensuring that Defendant GE performed a proper investigation;

               (d)     failing to require that the Investment Committee Defendants or the Asset

Management Defendants evaluate on a regular basis the performance and fees and expenses of

the GE Funds and the adverse impact of excessive fees and expenses on the long-term

performance of the GE Funds or to the extent that those fiduciaries were not properly delegated

to so do, or did not do, ensuring that Defendant GE performed a proper evaluation;

               (e)     failing to require that the Investment Committee or the GEAM Committee

implement and employ an ongoing process to control the fees and expenses of the GE Funds or




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to the extent that those fiduciaries were not properly delegated to so do or did not do, ensuring

that Defendant GE had an ongoing process in place;

              (f)     failing to implement procedures whereby the Investment Committee or the

GEAM Committee was not motivated in whole or in part by the prospect of GE collecting fees,

and the desire to increase the value of GE Asset Management or to the extent that those

fiduciaries were not properly delegated to so do or did not do, ensuring that Defendant GE was

not motivated by such considerations; and

              (g)     failing to require that the Investment Committee or the GEAM Committee

promptly remove any imprudent GE Funds or to the extent that those fiduciaries were not

properly delegated to so do or did not do, ensuring that Defendant GE had done so.

       150. Through these actions and omissions, among others, the Pension Board Defendants

and Defendant GE failed to discharge their duties with respect to the Plan: (A) solely in the

interest of the participants and beneficiaries of the Plan, and for the exclusive purpose of

providing benefits to participants and their beneficiaries and defraying reasonable expenses of

administering the Plan, in violation of ERISA §404(a)(1)(A), 29 U.S.C. §1104(a)(1)(A);

(B) failed to act with the care, skill, prudence and diligence under the circumstances then

prevailing that a prudent man acting in a like capacity and familiar with such matters would use

in the conduct of an enterprise of a like character and with like aims, in violation of ERISA

§404(a)(1)(B), 29 U.S.C. §1104(a)(1)(B); and (D) in accordance with the documents and

instruments governing the Plan in so far as those documents are consistent with ERISA.

       151. As a direct and proximate result of these breaches, the Plan, Plaintiffs and members

of the Class suffered substantial losses in the form of higher fees and lower returns on their

investments than they would have otherwise experienced. Additionally and regardless of the


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losses incurred by Plaintiffs or any member of the Class, pursuant to ERISA §§502(a)(2) and

(a)(3), and 409(a), 29 U.S.C. §§1132(a)(2) and (a)(3), and 1109(a), the Pension Board

Defendants, Defendant GE and any non-fiduciary which knowingly participated in these

breaches are liable to disgorge all profits made as a result of these Defendants’ breaches of

fiduciary duties.

                                              COUNT III

         Prohibited Transactions in Violation of ERISA §406(a)(1) (A), (C) and (D)
              Against Defendant GE, the Investment Committee Defendants,
              the Asset Management Defendants, and GE Asset Management

       152. Plaintiffs repeat and reallege the above paragraphs as though fully set forth herein.

       153. ERISA §406(a)(1), 29 U.S.C. §1106(a)(1) provides, in pertinent part, that a

fiduciary with respect to a plan shall not cause the plan to engage in a transaction, if he knows or

should know that such transaction constitutes a direct or indirect –

               (A)     sale or exchange, or leasing, of any property between the plan and
       a party in interest;

                                          *       *       *

               (C)     furnishing of goods, services, or facilities between the plan and a
       party in interest;

               (D)     transfer to, or use by or for the benefit of, a party in interest, of any
       assets of the plan . . . .

       154. Defendant GE, the Investment Committee Defendants and the Asset Committee

Defendants are fiduciaries of the Plan within the meaning of ERISA §§3(21), 29 U.S.C.

§§1002(21) that caused the Plan to offer the GE Funds options in the Plan and to continue

offering the GE Funds as options in the Plan.




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        155. As a fiduciary, an employer, and as the corporate parent of service providers for the

Plan, Defendant GE is a party in interest under ERISA §3(14)(A), (C), (H), 29 U.S.C. §1002(14)

(A), (C) and (H), respectively.

        156. As a service provider to the Plan, Defendant GE Asset Management was a party in

interest within the meaning of ERISA §3(14)(B), (H) and/or (I), 29 U.S.C. §1002(14) (B), (H)

and/or (I).

        157. Defendant GE, the Investment Committee Defendants and/or the Asset

Management Defendants caused the Plan to exclusively select the GE Funds as the sole actively

managed investment options for the Plan managed by GE Asset Management.

        158. As GE Asset Management was a subsidiary of GE until the sale to State Street,

Defendants GE and GE Asset Management must have known that those transactions constituted

a direct or indirect furnishing of services between the Plan and a party in interest.

        159. These transactions were for more than reasonable compensation, not selected solely

in the interests of Plan participants and/or were on terms less favorable than could have been

procured if the transactions were the product of arm’s-length negotiations and with outside

investors. As described throughout the Complaint, the compensation paid to parties in interest

for the Small Cap Equity Fund investment option in the Plan was also unreasonably high. These

Defendants failed to consider or select lower cost investment alternatives, including those

offered by unaffiliated investment managers.

        160. By selecting the GE Funds as the options in the Plan and by maintaining these as

the options in the Plan, Defendant GE, the Investment Committee Defendants and the Asset

Management Defendants caused the plan to engage in a prohibited transaction in violation of

ERISA §406(a)(1) (A), (C) and (D), 29 U.S.C. §1106(a)(1) (A), (C) and (D).


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       161. As parties in interest, Defendant GE and GE Asset Management are liable for these

violations of ERISA §406(a)(1) (A), (C) & (D), 29 U.S.C. §1106(a)(1) (A), (C) and (D) pursuant

to ERISA §502(a)(3).

       162. As a result of these prohibited transactions, Defendant GE Asset Management

received and Plaintiffs and members of the Class paid millions of dollars in the form of higher

fees and lower returns on their investments than they would have without these prohibited

transactions.

                                          COUNT IV

                Prohibited Transactions in Violation of ERISA §406(b)(1) and (3)
                 Against Defendant GE, the Investment Committee Defendants
                            and the Asset Management Defendants

       163. Plaintiffs repeat and reallege the above paragraphs as though fully set forth herein.

       164. ERISA §406(b), 29 U.S.C. §1106(b), provides, in pertinent part, that a fiduciary

with respect to a plan shall not:

              (1) deal with the assets of the plan in his own interest or for his own
       account,

       or

              (3)receive any consideration for his own personal account from any party
       dealing with such plan in connection with a transaction involving the assets of the
       plan.

       165. Defendant GE, the Investment Committee and the Asset Management Defendants

are fiduciaries of the Plan within the meaning of ERISA §§3(21) and 406(b)(1), 29 U.S.C.

§§1002(21) and 1106(b)(1).

       166. Defendant GE and/or the Investment Committee Defendants, and the Asset

Management Defendants dealt with the assets of a plan in their own interest or for their own

account by selecting and maintaining the GE Funds as the exclusive, actively management


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investment options in the Plan despite their high fees and/or poor performance because GE

received the financial benefit resulting from the performance of its wholly owned subsidiary and,

upon information and belief, at least part the compensation of the individual Asset Management

Defendants depended upon the performance of GE Asset Management.

       167. Defendant GE received consideration for its own account through the receipt of

investment management fees paid to its wholly owned subsidiary and/or the profits derived from

the fees generated by its wholly owned subsidiary in violation of ERISA §406(b)(3), 29 U.S.C.

§1106(b)(3).   To the extent that the compensation of the individual Asset Management

Defendants depended upon fees generated from Plan investments in GE Funds, the Asset

Management Defendants received consideration for their own account in violation of ERISA

§406(b)(3), 29 U.S.C. §1106(b)(3).

       168. As GE Asset Management was a subsidiary of GE until the sale to State Street, the

individual Asset Management Defendants were all officers of GE Asset Management. As a

result, Defendant GE Asset Management would have known that Defendant GE and the Asset

Management Defendants were dealing with the Plan in their own interest or for their own

account by selecting and maintaining the GE Funds as options in the Plan or that these

fiduciaries received consideration for their own account by selecting and maintaining the

GE Funds as options in the Plan.

       169. By selecting the GE Funds as the options in the Plan and by maintaining these as

the options in the Plan, Defendant GE, the Investment Committee Defendants and the Asset

Management Defendants caused the plan to engage in a prohibited transaction in violation of

ERISA §406(b)(1) and (3), 29 U.S.C. §1106(b)(1) and (3).




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       170. As parties in interest, Defendant GE and GE Asset Management are liable for these

violations of ERISA §406(b)(1) and (3), 29 U.S.C. §1106(b)(1) and (3), pursuant to ERISA

§502(a)(3).

       171. Pursuant to ERISA §§502(a)(2) and (a)(3), and 409(a), 29 U.S.C. §§1132(a)(2) and

(a)(3), and 1109(a), Defendants GE, the Asset Management Committee Defendants and

GE Asset Management are liable to disgorge all amounts and profits received as a result of these

prohibited transactions, and such other appropriate equitable relief as the Court deems proper.

                                            COUNT V

        Breach of Fiduciary Duties in Violation of ERISA §404(a)(1)(A), (B) and (D)
                        Against the Asset Management Defendants

       172. Plaintiffs repeat and reallege the above paragraphs as though fully set forth herein.

       173. Section 5(j) of the Trust Agreement provided a Plan fiduciary, namely the Asset

Management Defendants, with the authority to direct Fidelity Management Trust Company

(“Fidelity”) to exercise its authority under Section 5(j)(v) and (vi). Pursuant to Section 5(j)(v) of

the Trust Agreement, Fidelity had the authority, power and responsibility to “settle, compromise,

contest or submit to arbitration any claims, debts or damages due or owing to or from the Trust

Fund, to commence or defend suits or legal proceedings and to represent the Trust Fund in suits

or legal proceedings.” In addition, Section 5(j)(vi) of the Trust Agreement provided Fidelity

with the authority, power and responsibility to “employ legal . . . and other assistance as may be

required in carrying out the provisions of th[e] Trust Agreement.”             As such, the Asset

Management Defendants had a fiduciary duty to take action to remedy violations of breaches of

fiduciary duty

       174. In exercising their fiduciary duties under the Trust Agreement, the Asset

Management Defendants were required to discharge their duties with respect to the Plan solely in

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the interests of the participants and beneficiaries: (A) for the exclusive purpose of providing

benefits to participants and their beneficiaries, (B) with the care, skill, prudence, and diligence

under the circumstances then prevailing that a prudent person acting in a like capacity and

familiar with such matters would use in the conduct of an enterprise of like character and like

aims, and (D) in accordance with the documents and instruments governing the plan, pursuant to

ERISA §404(a)(1)(A), (B), and (D), 29 U.S.C. §1104(a)(1)(A), (B) and (D).

       175. At no time did the Asset Management Defendants take any action, including any

legal action, or exercise another authority that they could have exercised under the Trust

Agreement, the Plan Document, or ERISA to rectify the fiduciary breaches or prohibited

transactions engaged in by the other fiduciaries or in the case of the Asset Management

Defendants, themselves.

       176. Through these actions and omissions, the Asset Management Defendants failed to

discharge their duties with respect to the Plan: (A) solely in the interest of the participants and

beneficiaries of the Plan, and for the exclusive purpose of providing benefits to participants and

their beneficiaries and defraying reasonable expenses of administering the Plan, in violation of

ERISA §404(a)(1)(A), 29 U.S.C. §1104(a)(1)(A); (B) failed to act with the care, skill, prudence

and diligence under the circumstances then prevailing that a prudent man acting in a like

capacity and familiar with such matters would use in the conduct of an enterprise of a like

character and with like aims, in violation of ERISA §404(a)(1)(B), 29 U.S.C. §1104(a)(1)(B);

and (D) in accordance with the documents and instruments governing the Plan in so far as those

documents are consistent with ERISA.

       177. As a direct and proximate result of these breaches, the Plan, Plaintiffs and members

of the Class suffered substantial losses in the form of higher fees and/or lower returns on their


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investments than they would have otherwise experienced. Additionally, and regardless of the

losses incurred by Plaintiffs or any member of the Class, pursuant to ERISA §§502(a)(2) and

(a)(3), and 409(a), 29 U.S.C. §§1132(a)(2) and (a)(3), and 1109(a), the Asset Management

Defendants and any non-fiduciary which knowingly participated in these breaches are liable to

disgorge all profits made as a result of these Defendants’ breaches of fiduciary duties.

                                           COUNT VI

   Breaches of Fiduciary Duties of Prudence and Loyalty in Violation of ERISA §404(a)
        Against the Board Defendants and the Investment Committee Defendants
                        for Failure to Monitor Other Fiduciaries

       178. Plaintiffs repeat and reallege the above paragraphs as though fully set forth herein.

       179. The Board Defendants were and continue to be fiduciaries of the Plan under ERISA

§3(21) (A), 29 U.S.C. §1002(21) (A), because pursuant to the GE Pension Plan they were

responsible for appointing and removing members of the BPIC and the Pension Board and for

periodically monitoring their performance and to ensure they were performing their duties

properly and in accordance with ERISA.

       180. The Investment Committee Defendants were and continue to be fiduciaries of the

Plan under ERISA §3(21) (A), 29 U.S.C. §1002(21) (A), because, pursuant to the GE Pension

Plan they were responsible for appointing and removing members of the GEAM Committee and

the Defendant Fund Trustees, and for periodically monitoring their performance to ensure they

were performing their duties properly and in accordance with ERISA.

       181. As fiduciaries of the Plan, the Investment Committee Defendants and the Board

Defendants were and continue to be required pursuant to ERISA §404(a)(1), 29 U.S.C.

§1104(a)(1), to act solely in the interest of the participants and beneficiaries of the Plan they

served and (A) “for the exclusive purpose of: (i) providing benefits to participants and their

beneficiaries; and (ii) defraying reasonable expenses of administering the plan,” and (B) to
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discharge their duties on an ongoing basis “with the care, skill, prudence, and diligence under the

circumstances then prevailing that a prudent man acting in a like capacity and familiar with such

matters would use in the conduct of an enterprise of a like character and with like aims.”

Consistent with these duties, the Board Defendants and Investment Committee Defendants were

required to ensure that the monitored fiduciaries were performing their fiduciary obligations,

including those with respect to the investment and monitoring of plan assets, and must take

prompt and effective action to protect the plan and participants when the monitored fiduciaries

fail to perform their fiduciary obligations in accordance with ERISA.

        182. To the extent the Investment Committee Defendants and the Board Defendants’

delegated fiduciary monitoring responsibilities to other fiduciary Defendants, each Defendant’s

monitoring duty included an obligation to ensure that any delegated tasks were performed

prudently and loyally.

        183. The Investment Committee Defendants and the Board Defendants breached their

fiduciary monitoring duties by, among other things:

                (a)      failing to monitor and evaluate the performance of other fiduciary

Defendants or have a system in place for doing so, standing idly by as the Plan suffered losses as

a result of other Defendants’ election to load the Plan with actively managed affiliated

proprietary mutual funds when superior non-proprietary investment alternatives were readily

available elsewhere, as detailed herein;

                (b)      failing to monitor the processes by which the Plan’s investments were

chosen, evaluated and retained, which would have alerted a prudent fiduciary to the preferential

treatment Defendants gave to GE-affiliated funds out of self-interest, and not based on the best

interest of the Plan’s participants;


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                 (c)    failing to monitor the process by which the Plan’s investments were

chosen, evaluated or retained, which would have alerted a prudent fiduciary of the excessive fees

and/or underperformance of the GE Funds;

                 (d)    failing to monitor their appointees to ensure that they considered

availability of comparable non-GE funds, including lower-cost funds with similar strategies and

similar or superior performance and/or less expensive, better-performing Funds than the GE

Funds; and

                 (e)    failing to remove fiduciaries whose performance was inadequate in that

they continued to maintain costly and self-serving investments in the Plan, all to the detriment of

the Plan and the Plan’s participants’ retirement savings, including Plaintiffs and members of the

Class.

          184. As a direct and proximate result of these breaches of the duty to monitor, the Plan,

Plaintiffs and members of the Class have suffered substantial losses in the form of higher fees

and/or lower returns on their investments than they would have earned by the prudent and loyal

investment of Plan assets.

          185. Pursuant to ERISA §§502(a)(2) and (a)(3), and 409(a), 29 U.S.C. §§1132(a)(2) and

(a)(3), and 1109(a), Defendants are liable to disgorge all fees received from the Plan directly or

indirectly, and profits thereon, and restore all losses suffered by the Plan caused by their

breaches of the duty to monitor, and such other appropriate equitable relief as the Court deems

proper.




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                                           COUNT VII

                          Co-fiduciary Liability Under ERISA §405
             Against GE, the Board Defendants, the Pension Board Defendants, the
             Investment Committee Defendants, the Asset Management Defendants
                              and the Fund Trustee Defendants

       186. Plaintiff repeats and re-alleges each of the allegations set forth in the foregoing

paragraphs as if fully set forth herein.

       187. ERISA §405(a), 29 U.S.C. §1105(a), imposes liability on a fiduciary, in addition to

any liability, which he may have had under any other provision of ERISA, if:

       (1)    he participates knowingly in or knowingly undertakes to conceal an act or
       omission of such other fiduciary knowing such act or omission is a breach;

       (2)    by his failure to comply with ERISA §404(a)(1) in the administration of
       his specific responsibilities which give rise to his status as a fiduciary, he has
       enabled such other fiduciary to commit a breach; or

       (3)      he knows of a breach by another fiduciary and fails to make reasonable
       efforts to remedy it.

       188. The Asset Management Defendants, the Fund Trustee Defendants, the Investment

Committee Defendants, the Pension Board Defendants, the Board Defendants and Defendant GE

were all fiduciaries of the Plan within the meaning of ERISA §402(a), 29 U.S.C. §1102(a),

ERISA §3(21)(A), 29 U.S.C. §1002(21)(A), or both.

       189. Each of the members of the Board, the GEAM Committee, the BPIC, and the GEPB

knew of each breach of fiduciary duty by the other members of their respective Committee

alleged herein arising out of the imprudent investment of the assets of the Plan in the GE Funds

and the associated breaches. Yet, they knowingly participated in fiduciary breaches, breached

their own duties enabling other breaches, and/or took no steps to remedy other fiduciary

breaches.




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       190. As some if not all of the members of the Board, the BPIC, the GEAM Committee,

the GEPB and the Fund Trustees, were employees, officers or directors of Defendant GE, their

knowledge is imputed to GE. Defendant GE knew of the breach of fiduciary duty by each of

them arising out of the imprudent investment of the assets of the Plan in the GE Funds and the

associated breaches and GE had knowledge of its own fiduciary breaches in which these other

fiduciaries participated.   Yet, Defendant GE knowingly participated in fiduciary breaches,

breached their own duties enabling other breaches, and/or took no steps to remedy other

fiduciary breaches.

                                           COUNT VIII

                      Knowing Participation in a Fiduciary Breach or
                     Violation of ERISA Pursuant to ERISA 502(a)(3)
                Against Defendant GE and Defendant GE Asset Management

       191. Plaintiffs repeat and re-allege each of the allegations set forth in the foregoing

paragraphs as if fully set forth herein.

       192. ERISA §502(a)(3), 29 U.S.C. §1132(a)(3) imposes liability not only on fiduciaries

of the Plan but also on non-fiduciaries of the Plan who knowingly participate in fiduciary

breaches or other violations of ERISA or the terms of the Plan. As such, GE Asset Management

and Defendant GE (even if it is not a fiduciary), can be held liable if either of them knowingly

participated in the fiduciary breaches or violations of any fiduciary of the Plan.

       193. Defendant GE Asset Management and Defendant GE would have known that each

of the other Defendants were fiduciaries of the Plan as these other Defendants either were GE

executives (or GE Asset Management executives) or were appointed by GE (or high level

GE executives or GE Asset Management executives). The knowledge of any such executives

would be imputed to GE and/or GE Asset Management.



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       194. Defendants GE and GE Asset Management would have been aware of the foregoing

breaches and prohibited transactions, including:

               (a)     the GE Funds had inferior investment performance;

               (b)     the GE Funds charged excessive fees;

               (c)     the fiduciaries who selected the GE Funds had conflicts of interest;

               (d)     the selection and continued offering of the proprietary GE Funds was not

in the best interests of the participants, but instead the primary purpose of offering the GE Funds

as an investment option was to increase the assets under management, to increase the fees

charged and the profits of GE Asset Management and to prime GE Asset Management for sale;

and

               (e)     the payment of these fees to GE Asset Management was a prohibited

transaction.

       195. Despite knowledge of these breaches and violations, Defendants GE and GE Asset

Management proceeded to engage in the transactions and receive fees.

       196. By knowingly participating in these breaches and violations, Defendants GE and/or

GE Asset Management are subject to appropriate equitable relief including disgorgement of any

profits, having a constructive trust placed on any proceeds received (or which are traceable

thereto) including proceeds from the sale of GE Asset Management, or is subject to other

appropriate equitable relief.

                                ENTITLEMENT TO RELIEF

       197. By virtue of the violations set forth in the foregoing paragraphs, Plaintiffs and the

members of the Class are entitled to sue each of the fiduciary Defendants pursuant to ERISA

§502(a)(2), 29 U.S.C. §1132(a)(2), for relief on behalf of the Plan as provided in ERISA §409,

29 U.S.C. §1109, including for recovery of any losses to the Plan, the recovery of any profits
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resulting from the breaches of fiduciary duty, and such other equitable or remedial relief as the

Court may deem appropriate.

       198. By virtue of the violations set forth in the foregoing paragraphs, Plaintiff and the

members of the Class are entitled, pursuant to ERISA §502(a)(3), 29 U.S.C. §1132(a)(3), to sue

any of the Defendants for any appropriate equitable relief to redress the wrongs described above.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for judgment as follows:

       A.       Declaring that each of the Defendants who are fiduciaries of the Plan have

breached their fiduciary duties under ERISA;

       B.       Ordering each fiduciary found to have breached his/her/its fiduciary duties to the

Plan to jointly and severally restore all losses to the Plan that resulted from the breaches of

fiduciary duty, or by virtue of liability pursuant to ERISA §405;

       C.       Entering an order requiring (a) the disgorgement of profit made by any

Defendant, (b) declaring a constructive trust over any assets received by any breaching fiduciary

in connection with his/her/its breach of fiduciary duties, or violations of ERISA, or any non-

fiduciary Defendant who knowingly participated in that breach or violation, (c) requiring the

Plan to divest itself of investments in the GE Funds and (d) any other appropriate equitable

monetary relief, whichever is in the best interest of the Plan;

       D.       Ordering, pursuant to ERISA §206(d)(4), 29 U.S.C. §1056(d)(4), that any amount

to be paid to or necessary to satisfy any breaching fiduciary’s liability can be satisfied, in whole

or in part, by attaching their accounts in or benefits from the Plan;

       E.       Removing any breaching fiduciaries as fiduciaries of the Plan and permanently

enjoining them from serving as a fiduciary of any ERISA-covered plan in which Plaintiffs or any

member of the Class is a participant or beneficiary;
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        F.       Appointing an independent fiduciary, at the expense of the breaching fiduciaries,

to administer the Plan and the management of the Plan’s investments and/or selection of

investment options and/or to oversee the divestment of the Plan’s investments;

        G.       Ordering the Plan’s fiduciaries to provide a full accounting of all fees paid,

directly or indirectly, by the Plan;

        H.       Awarding Plaintiffs and the Class their attorneys’ fees and costs pursuant to

ERISA §502(g), 29 U.S.C. §1132(g), the common benefit doctrine and/or the common fund

doctrine;

        I.       Awarding Plaintiffs and the members of the Class pre-judgment and post-

judgment interest;

        J.       Awarding such equitable, injunctive or other relief as the Court may deem

appropriate pursuant to ERISA §502(a)(3) or any relief to which Plaintiffs and the Class are

entitled to pursuant to Fed. R. Civ. P. Rule 54(c); and

        K.       Awarding such equitable, injunctive or other relief as the Court may deem just

and proper.

DATED: January 12, 2018                                        /s/ Jason M. Leviton
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                                 CERTIFICATE OF SERVICE

        I, Jason M. Leviton, hereby certify that this document filed through the ECF system will

be sent electronically to the registered participants as identified on the Notice of Electronic Filing

and paper copies will be sent to those indicated as non-registered participants on January 12,

2018.



Dated: January 12, 2018                                     /s/ _Jason M. Leviton
                                                              Jason M. Leviton




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